    Case: 25-132    Document: 2     Page: 1   Filed: 06/16/2025




                          No. 25-___



     United States Court of Appeals
         for the Federal Circuit

                   IN RE SAP AMERICA, INC.,
                           Petitioner.



            On Petition for Writ of Mandamus to the
United States Patent and Trademark Office in No. IPR2024-01495


         PETITION FOR A WRIT OF MANDAMUS

                                  John D. Vandenberg
                                  Samuel Thacker
                                  Andrew M. Mason
                                  Sarah E. Jelsema
                                  Klarquist Sparkman, LLP
                                  121 S.W. Salmon Street, Suite 1600
                                  Portland, Oregon 97204-2988
                                  (503) 595-5300
                                  john.vandenberg@klarquist.com

                                  Counsel for Petitioner
                                  SAP America, Inc.
            Case: 25-132      Document: 2       Page: 2   Filed: 06/16/2025




                         CERTIFICATE OF INTEREST

      Counsel for the Petitioner SAP America, Inc. certifies that the following

information is accurate and complete to the best of our knowledge:

1. Represented           2. Real Party in             3. Parent Corporations and
Entities. Fed. Cir. R.   Interest.                    Stockholders. Fed. Cir. R.
47.4(a)(1).              Fed. Cir. R. 47.4(a)(2).     47.4(a)(3).
Provide the full         Provide the full names       Provide the full names of all
names of all entities    of all real parties in       parent corporations for the
represented by           interest for the entities.   entities and all publicly held
undersigned counsel      Do not list the real         companies that own 10% or
in this case.            parties if they are the      more stock in the entities.
                         same as the entities.
SAP America, Inc.        SAP SE                       SAP America, Inc. is a wholly
                                                      owned subsidiary of SAP SE,
                                                      which is a publicly traded
                                                      company. No publicly held
                                                      company owns 10% or more of
                                                      the stock of SAP SE.

4. Legal Representatives. List all law firms, partners, and associates that (a)
appeared for the entities in the originating court or agency or (b) are expected to
appear in this court for the entities. Do not include those who have already
entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
Roy Chamcharas                Todd M. Siegel
Klarquist Sparkman, LLP Klarquist Sparkman, LLP

5. Related Cases. Other than the originating case(s) for this case, are there
related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
Yes (separate Notice of Related Case Information filed).

6. Organizational Victims and Bankruptcy Cases. Provide any information
required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
N/A




                                            i
                Case: 25-132           Document: 2           Page: 3       Filed: 06/16/2025




                                      TABLE OF CONTENTS
                                                                                                              Page

CERTIFICATE OF INTEREST ................................................................................ i
I.      INTRODUCTION ...........................................................................................1

II.     JURISDICTION ..............................................................................................3

III.    RELIEF SOUGHT...........................................................................................3
IV.     BACKGROUND .............................................................................................4

V.      ARGUMENT ...................................................................................................7
        A.       Mandamus Relief Is Appropriate ..........................................................7
        B.       The Patent Office’s Retroactive Rescission of Its
                 Binding Agency Guidance Violated SAP’s Due Process Rights..........7
                 1.       SAP Reasonably Relied on the Vidal Memo. .............................8
                 2.       SAP’s Reliance Interest Was Protected by Due Process ..........11
                 3.       The Rescission of the Vidal Memo. Was Retroactive ..............13

                 4.       The Patent Office Violated SAP’s Due Process Rights............14
        C.       Denying Institution Based on SAP Not Agreeing to
                 Forgo System Prior Art in the District Court Action Rewrites
                 the Estoppel Statute and Violates the Separation of Powers ..............16

VI.     CONCLUSION..............................................................................................20
CERTIFICATE OF COMPLIANCE .......................................................................21

CERTIFICATE OF SERVICE ................................................................................22




                                                         i
                 Case: 25-132           Document: 2           Page: 4       Filed: 06/16/2025




                                     TABLE OF AUTHORITIES

                                                                                                          Page(s)
Cases

BMW of North Am., LLC v. NorthStar Sys. LLC,
 2024 WL 967815 (P.T.A.B. Mar. 6, 2024) ............................................................9
Bowen v. Georgetown Univ. Hosp.,
 488 U.S. 204 (1988) .............................................................................................10

Cemex Inc. v. Dep’t of the Interior,
 560 F. Supp. 3d 268 (D.D.C. 2021) .....................................................................15

City of Portland v. United States,
  969 F.3d 1020 (9th Cir. 2020) ..............................................................................19
De Niz Robles v. Lynch,
 803 F.3d 1165 (10th Cir. 2015) ............................................................................10
FDA v. Wages & White Lion Invs., LLC,
 145 S. Ct. 898 (2025)............................................................................................15
Goldberg v. Kelly,
 397 U.S. 254 (1970) .............................................................................................12
HP Inc. v. Universal Connectivity Techs., Inc.,
 2025 WL 1040187 (P.T.A.B. Apr. 8, 2025) ...........................................................7
In re Palo Alto Networks, Inc.,
  44 F.4th 1369 (Fed. Cir. 2022) ...............................................................................3
Ingenico Inc. v. IOENGINE, LLC,
  136 F.4th 1354 (Fed. Cir. 2025) ...........................................................................17
Kilbourn v. Thompson,
  103 U.S. 168 (1880) .............................................................................................16

Ky. Dept. of Corrections v. Thompson,
 490 U.S. 454 (1989) .............................................................................................12
Landgraf v. USI Film Prods.,
  511 U.S. 244 (1994) .............................................................................................13


                                                         ii
                 Case: 25-132           Document: 2            Page: 5      Filed: 06/16/2025




Massachusetts v. Mellon,
 262 U.S. 447 (1923) .............................................................................................16

Mejia v. Garland,
 2024 WL 2944002 (1st Cir. June 11, 2024) .........................................................16

Meta Platforms, Inc. v. Eight kHz, LLC,
 2024 WL 100929 (P.T.A.B. Jan. 9, 2024)..............................................................9

Mexichem Fluor, Inc. v. EPA,
 866 F.3d 451 (D.C. Cir. 2017)..............................................................................14

Miller v. French,
 530 U.S. 327 (2000) .............................................................................................16

Mistretta v. United States,
 488 U.S. 361 (1989) .............................................................................................16
Motorola Sols., Inc. v. STA Grp. LLC,
 2024 WL 1093736 (P.T.A.B. Mar. 13, 2024) ........................................................9
Motorola Sols., Inc. v. Stellar, LLC,
 2025 WL 1503220 (P.T.A.B. May 23, 2025).......................................................13

Mylan Lab’ys Ltd. v. Janssen Pharmaceutica, N.V.,
 989 F.3d 1375 (Fed. Cir. 2021) ..........................................................................3, 7
Olim v. Wakinekona,
 461 U.S. 238 (1983) .............................................................................................11

Patchak v. Zinke,
 583 U.S. 244 (2018) .............................................................................................16

Perry v. Sindermann,
  408 U.S. 593 (1972) ...................................................................................... 11, 12
Reyes v. Garland,
  11 F.4th 985 (9th Cir. 2021) .................................................................................16
Sandin v. Conner,
  515 U.S. 472 (1995) .............................................................................................11




                                                         iii
                  Case: 25-132             Document: 2           Page: 6        Filed: 06/16/2025




Smith v. Metro. Sch. Dist. Perry Twp.,
 128 F.3d 1014 (7th Cir. 1997) ..............................................................................10

Sotera Wireless, Inc. v. Masimo Corp.,
  2020 WL 7049373 (P.T.A.B. Dec. 1, 2020) ................................................ passim

Tafas v. Dudas,
  511 F. Supp. 2d 652 (E.D. Va. 2007) ...................................................................10

The Bd. of Regents of State Colleges v. Roth,
  408 U.S. 564 (1972) .............................................................................................11

Util. Air Regul. Grp. v. EPA,
 573 U.S. 302 (2014) ...................................................................................... 18, 19

Washington v. Trump,
 768 F. Supp. 3d 1239 (W.D. Wash. 2025) ...........................................................19
Constitutional Provisions
U.S. Const. amend V........................................................................................ passim
Statutes

28 U.S.C. § 1295 ........................................................................................................3
28 U.S.C. § 1651 ........................................................................................................3

35 U.S.C. § 2 ............................................................................................................10
35 U.S.C. § 102 ....................................................................................................4, 17
35 U.S.C. § 103 ....................................................................................................4, 17

35 U.S.C. § 141 ..........................................................................................................3

35 U.S.C. § 311 ........................................................................................................17
35 U.S.C. § 315 ........................................................................................................17

35 U.S.C. § 316 ........................................................................................................10
35 U.S.C. § 319 ..........................................................................................................3
35 U.S.C. § 321 ........................................................................................................17

                                                            iv
                  Case: 25-132             Document: 2            Page: 7        Filed: 06/16/2025




35 U.S.C. § 325 ........................................................................................................17
Other Authorities

William C. Neer, Comment, Discerning the Retroactive Policymaking Powers of
 the United States Patent and Trademark Office, 71 Admin. L. Rev. 413, 430–33
 (2019)....................................................................................................................10




                                                             v
                Case: 25-132   Document: 2       Page: 8   Filed: 06/16/2025




I.     INTRODUCTION

       The Patent Office’s discretion to deny a meritorious inter partes review

(“IPR”) petition has limits. It is cabined by the U.S. Constitution, the IPR statute,

and the Patent Office’s own binding agency guidance. In discretionarily denying

SAP’s (and others’) IPR petitions this spring, the Patent Office violated each of these

restrictions.

       The Patent Office violated the 5th Amendment’s Due Process Clause by

retroactively revoking its “binding agency guidance” that had guaranteed SAP’s

petitions would not be discretionarily denied based on parallel district court

litigation, after SAP had reasonably acted in reliance on that binding guidance.

       Specifically, Director Vidal’s June 21, 2022, Memorandum (“Vidal Memo.”),

“issued under the Director’s authority to issue binding agency guidance to govern

the PTAB’s implementation of various statutory provisions,” stated that the PTAB

would not discretionarily deny institution based on parallel district court litigation if

the petitioner submitted a Sotera stipulation. (Appx27.) SAP relied on that binding

agency guidance in part by taking its time to carefully investigate the prior art and

prepare the petition it filed on October 1, 2024, knowing that such delay would not

risk a discretionary denial because SAP would submit a Sotera stipulation.

       But then the Patent Office, headed by new Acting Director Stewart, withdrew

that guidance on February 28, 2025, without explaining why it was withdrawn and


                                             1
             Case: 25-132      Document: 2       Page: 9   Filed: 06/16/2025




without addressing the reliance interests of petitioners such as SAP. (Appx81.).

Nearly a month later, the Patent Office stated that this rescission would apply,

retroactively, to all pending IPR petitions. (Appx83.) The Board then discretionarily

denied SAP’s petition based on parallel district court litigation despite SAP’s Sotera

stipulation and despite finding that SAP’s petition met the statutory merits threshold:

“Petitioner’s challenge is straightforward and definitely meets the standard for

institution.” (Appx13.) This retroactive rescission of binding guidance on which

SAP had reasonably relied violated due process.

       The Office also violated the separation of powers by discretionarily denying

SAP’s (and others’) IPR petitions for reasons that effectively rewrite the statute

governing IPRs. Specifically, as a de facto condition for institution, the Office now

pushes petitioners to stipulate in parallel district court litigation to a disproportionate

forfeiture of public-use and on-sale invalidity defenses that petitioners cannot pursue

in IPR. This conflicts with the IPR statute, which establishes a narrower estoppel

proportional to the unpatentability grounds a party may assert in IPR. The Board’s

denial of SAP’s petition relied heavily on SAP not acceding to this ultra vires

demand for a disproportionate estoppel: “We find particularly significant that, if we

were to institute review and trigger Petitioner’s Sotera stipulation, Petitioner would

remain free to pursue a system-based invalidity challenge in the district court based




                                             2
            Case: 25-132     Document: 2       Page: 10   Filed: 06/16/2025




on essentially the same prior art that would be at issue here.” (Appx14.) This new

policy is an unconstitutional agency end run around the statute.

       These constitutional violations distinguish the Court’s past decisions denying

mandamus review from IPR institution denials or de-institution decisions.

II.    JURISDICTION

       “While there is no avenue for direct appeal of decisions denying institution, .

. . judicial review is available in extraordinary circumstances by petition for

mandamus.” Mylan Lab’ys Ltd. v. Janssen Pharmaceutica, N.V., 989 F.3d 1375,

1379 (Fed. Cir. 2021). In particular, the Court may review “the Director’s exercise

of his discretion to deny institution” where there are “colorable constitutional

claims.” Id. at 1382. See 28 U.S.C. §§ 1295(a)(4)(A), 1651; 35 U.S.C. §§ 141(c),

319; and In re Palo Alto Networks, Inc., 44 F.4th 1369, 1374 (Fed. Cir. 2022)

(reviewing constitutional claim relating to institution denial upon petition for a writ

of mandamus).

III.   RELIEF SOUGHT

       The Court should order the Office to apply its June 21, 2022, “binding agency

guidance” to SAP’s petitions, and all still-active petitions filed before February 28,

2025, and to not pressure SAP or any IPR petitioner into forfeiting in parallel district

court litigation an invalidity ground it could not have reasonably asserted in their

IPR petition.


                                           3
            Case: 25-132     Document: 2       Page: 11   Filed: 06/16/2025




IV.   BACKGROUND

      After being sued in February 2024 in the Eastern District of Texas for alleged

infringement of four patents, SAP filed IPR petitions on three of the asserted patents.

The petition at issue here was filed October 1, 2024. (Appx103.) On February 11,

2025, SAP filed its Sotera stipulation agreeing (contingent on institution) not to

pursue any ground of unpatentability in district court that was raised or reasonably

could have been raised in any instituted IPR (i.e., any Section 102 or 103 invalidity

defense based on prior art patents or printed publications). (Appx80; Appx104.)

      Under Director Vidal’s binding June 2022 memorandum, SAP’s stipulation

ensured that the Office would not deny institution of the IPR based on the parallel

district court litigation. (Appx27 (“[T]he PTAB will not discretionarily deny

institution in view of parallel district court litigation where a petitioner presents a

stipulation not to pursue in a parallel proceeding the same grounds or any grounds

that could have reasonably been raised before the PTAB.”).) The Vidal Memo. was

“issued under the Director’s authority to issue binding agency guidance” (id.) and

“applie[d] to all proceedings pending before the Office” (Appx33).

      Director Vidal issued this guidance based on stakeholder feedback (Appx26,

Appx44), post-Sotera institution statistics (Appx35) showing institution was rarely




                                           4
            Case: 25-132     Document: 2       Page: 12   Filed: 06/16/2025




denied when a petitioner made some type of stipulation 1, and the precedential Sotera

decision itself, which found a Sotera stipulation to weigh “strongly” against

discretionary denial because it “mitigates any concerns of duplicative efforts

between the district court and the Board, as well as concerns of potentially

conflicting decisions” and ensures that IPR serves as a “true alternative” to the

district court litigation for the grounds that can be raised in IPR. Sotera Wireless,

Inc. v. Masimo Corp., No. IPR2020-01019, 2020 WL 7049373, at *7 (P.T.A.B. Dec.

1, 2020).

      On February 28, 2025, the Office issued a three-sentence website post

rescinding the Vidal Memo., without indicating to which cases this rescission would

apply. (Appx81.) On March 24, the Office issued a memorandum (the “Boalick

Memo.”) announcing that the February 28 rescission would apply not only

prospectively to petitions filed after that date, but also retroactively to “any case in

which the Board has not issued an institution decision, or where a request for



      1
             The PTO conducted a study finding that only a small percentage of

IPRs (e.g., 2.9% (2 out of 68) in Q1 of 2022) were denied institution when a

petitioner made some type of stipulation (including narrower Sand stipulation

agreeing not to pursue only the same grounds raised in district court). (Appx17;

Appx21.)


                                           5
            Case: 25-132     Document: 2       Page: 13   Filed: 06/16/2025




rehearing or Director Review of an institution decision was filed and remains

pending.” (Appx83.)2 The Boalick Memo. stated that the Vidal Memo. “was

intended to provide guidance while the USPTO proposed potential rulemaking, but

the USPTO did not subsequently propose a final rule,” and thus, “[i]n the absence

of rulemaking, the USPTO [had] rescinded the [Vidal Memo.] to restore policy in

this area to the guidance in place before the [Vidal Memo.].” (Appx82.)

      On April 7, 2025, the Board denied institution, primarily based on the finding

that SAP’s Sotera stipulation had “limited practical effect” because it did not cover

the prior art system described in part by the printed publications cited in the IPR.

(Appx11–12; Appx14) (“We find particularly significant that, if we were to institute

review and trigger Petitioner’s Sotera stipulation, Petitioner would remain free to

pursue a system-based invalidity challenge in the district court based on essentially

the same prior art that would be at issue here.”).)

      On April 17, 2025, SAP filed a request for Director Review of the Board’s

decision denying institution, arguing, among other things, that it was contrary to the

Sotera decision and other post-Sotera institution decisions where corresponding

system art similarly was alleged to be at play in district court. (Appx88; Appx94–



      2
             Unlike the Vidal Memo., the Patent Office issued the Boalick Memo.

without any feedback from stakeholders.


                                           6
            Case: 25-132     Document: 2       Page: 14   Filed: 06/16/2025




98) (citing e.g., HP Inc. v. Universal Connectivity Techs., Inc., No. IPR2024-01428,

2025 WL 1040187, at *3–4 (P.T.A.B. Apr. 8, 2025)).) Without explanation, the

Director denied SAP’s requests for Director Review of the denials of institution of

three SAP petitions in a single sentence: “[u]pon consideration of the requests, it is:

ORDERED that the requests for Director Review are denied.” (Appx2.)

V.    ARGUMENT

      A.     Mandamus Relief Is Appropriate

      To obtain the remedy of mandamus, a “petitioner must: (1) show that it has a

clear and indisputable legal right; (2) show it does not have any other adequate

method of obtaining relief; and (3) convince the court that the writ is appropriate

under the circumstances.” Mylan, 989 F.3d at 1382.

      SAP’s petition meets these conditions for mandamus. Due process and

separation of powers are clear and indisputable legal rights applicable to SAP, and

SAP’s rights were violated, as explained further below. SAP has no other method of

obtaining relief, as “there is no avenue for direct appeal of decisions denying

institution.” Id. at 1379. And the writ is appropriate under the circumstances in part

because parties before the Patent Office should not be penalized for reasonably

relying on the agency’s binding guidance.

      B.     The Patent Office’s Retroactive Rescission of Its
             Binding Agency Guidance Violated SAP’s Due Process Rights
      The Patent Office violated SAP’s constitutional due process rights by


                                           7
            Case: 25-132     Document: 2       Page: 15   Filed: 06/16/2025




retroactively applying its rescission of the Vidal Memo. to SAP’s pending IPR.

      SAP filed its petition for IPR on October 1, 2024. Nearly six months later, on

March 24, 2025, the Patent Office decided to retroactively apply the rescission of

the Vidal Memo. to IPRs pending before the February 28, 2025, rescission of the

Vidal Memo. (Appx83.) This rescission greatly changed the legal landscape, leading

to severe consequences for past actions SAP had taken in reliance on the Vidal

Memo’s binding agency guidance.

      The Vidal Memo. gave SAP and others several clear benefits and expectations

when contemplating filing an IPR petition in response to a patent infringement

action. Primarily, any petitioner willing to make a Sotera stipulation would not face

discretionary denial based on a parallel district court action. Such petitioners could

utilize the full one-year statutory period following service of a complaint alleging

infringement, without being penalized with the risk of denial on that ground. They

remained free to assert in district court those invalidity defenses not permitted in

IPR, including on-sale and public-use prior art, even if based on products described

in the IPR-asserted publications. For such petitioners, any petition that met the

statutory criteria—like SAP’s petition here—was virtually guaranteed institution.

            1.     SAP Reasonably Relied on the Vidal Memo.

      It was reasonable for SAP and other IPR petitioners to act in reliance on these

expectations and benefits. First, the Vidal Memo. described itself as “binding agency


                                           8
            Case: 25-132     Document: 2       Page: 16   Filed: 06/16/2025




guidance” (Appx27), assuring IPR petitioners that the Board panels reviewing their

petitions would abide by this guidance.

      Second, the Board consistently followed the Vidal Memo.’s binding agency

guidance, such that filing a timely Sotera stipulation was a de facto guarantee that

an IPR petition would not be denied based on a parallel district court action. See,

e.g., BMW of North Am., LLC v. NorthStar Sys. LLC, No. IPR2023-01049, 2024 WL

967815, at *4 (P.T.A.B. Mar. 6, 2024) (“Under the mandatory Fintiv guidance, this

[Sotera] stipulation is dispositive.”); Meta Platforms, Inc. v. Eight kHz, LLC, No.

IPR2023-01005, 2024 WL 100929, at *5–6 (P.T.A.B. Jan. 9, 2024) (declining to

exercise discretion to deny institution due to a petitioner’s Sotera stipulation, and

rejecting, as contrary to Sotera and the Vidal Memo., a patent owner’s arguments

that the stipulation was insufficient because it carved out the right to assert

overlapping system art in district court); see also Motorola Sols., Inc. v. STA Grp.

LLC, No. IPR2023-01293, 2024 WL 1093736, at *2 (P.T.A.B. Mar. 13, 2024).

      Third, the Vidal Memo. indicated that the Office expected to replace its

binding agency guidance with formal rulemaking (Appx33), so the public could

expect this guidance to stay in place until such time.

      Fourth, Congress did not delegate to the Patent Office the authority to

retroactively rescind such binding agency guidance, meaning that parties could rely

on the guidance without fear that its legal landscape would later be pulled out from


                                           9
            Case: 25-132     Document: 2       Page: 17   Filed: 06/16/2025




under them. Specifically, “a statutory grant of legislative rulemaking authority will

not, as a general matter, be understood to encompass the power to promulgate

retroactive rules unless that power is conveyed by Congress in express terms.”

Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 208 (1988); Smith v. Metro. Sch.

Dist. Perry Twp., 128 F.3d 1014, 1039–40 (7th Cir. 1997) (“[W]e must . . . refrain

from giving retroactive effect to agency policy guidelines.”). “[W]hen Congress’s

delegates seek to exercise delegated legislative policymaking authority: their rules

too should be presumed prospective in operation unless Congress has clearly

authorized retroactive application.” De Niz Robles v. Lynch, 803 F.3d 1165, 1172

(10th Cir. 2015) (finding that executive agency did not have authority to apply rule

retroactively).

      Congress did not grant the Patent Office authority to make retroactive rules or

guidelines, nor to retroactively rescind binding agency guidance. Cf. 35 U.S.C.

§§ 2(b)(2), 316(a); see also, e.g., Tafas v. Dudas, 511 F. Supp. 2d 652, 666 (E.D.

Va. 2007) (“Congress did not expressly grant the PTO” “the power to promulgate

retroactive rules.”); William C. Neer, Comment, Discerning the Retroactive

Policymaking Powers of the United States Patent and Trademark Office, 71 Admin.

L. Rev. 413, 430–33 (2019) (“The USPTO does not have the power to make

retroactive rules.”). Thus, SAP was justified in relying on the Vidal Memo. because

the Patent Office did not have the authority to retroactively rescind it.


                                          10
            Case: 25-132     Document: 2       Page: 18   Filed: 06/16/2025




      Reasonably relying on this binding guidance, SAP asserted related public-use

and on-sale prior art in the parallel litigation, took seven months to prepare and file

its IPR petition, and expended substantial sums to prepare and file its petition,

knowing it would be instituted if it met (as the Board found it did) the statutory

requirements.

             2.     SAP’s Reliance Interest Was Protected by Due Process

      SAP’s reliance interest in the agency’s binding guidance is the kind of reliance

interest deemed property for due process purposes because it is a legitimate claim to

entitlement, not a mere unilateral expectation. Cf. The Bd. of Regents of State

Colleges v. Roth, 408 U.S. 564, 577 (1972). The “property” interests subject to

procedural due process protection include “a broad range of interests that are secured

by ‘existing rules or understandings.’” Perry v. Sindermann, 408 U.S. 593, 601

(1972) (citation omitted). Here, the Vidal Memo. secured SAP’s entitlement to avoid

discretionary denial based on the parallel district action as soon as SAP filed its

Sotera stipulation. That right was a substantial one effectively guaranteeing

institution of SAP’s petition, which met all statutory requirements.

      A state “creates a protected liberty interest by placing substantive limitations

on official discretion.” Olim v. Wakinekona, 461 U.S. 238, 249 (1983), abrogated in

part on other grounds, Sandin v. Conner, 515 U.S. 472, 484 (1995) (abrogating Olim

in the prison context). Specifically, “the use of ‘explicitly mandatory language,’ in


                                          11
            Case: 25-132      Document: 2       Page: 19   Filed: 06/16/2025




connection with the establishment of ‘specified substantive predicates’ to limit

discretion, forces a conclusion that the State has created a liberty interest.” Ky. Dept.

of Corrections v. Thompson, 490 U.S. 454, 463 (1989). Here, the Vidal Memo. self-

imposed a sizable and substantive limitation on the Patent Office’s discretion to deny

an IPR petition. Using mandatory language, it expressly limited the discretion to

deny an IPR petition upon satisfaction of the substantive predicate of filing a Sotera

stipulation. In practice, that restriction on discretion was absolute, leading to

institution so long as the statutory criteria were met. Cf. Sindermann, 408 U.S. at

601–03 (finding that a state university’s rules and practices may support a teacher’s

legitimate claim of entitlement to continued employment absent “sufficient cause,”

creating a property interest subject to due process protection).

      SAP had this property interest whether or not it was entitled to institution of

its IPR petition. Even if its petition had not met the statutory requirements for

institution, SAP was entitled to not have its reasonable reliance on the binding

agency guidance arbitrarily undermined by the Patent Office. Cf. Goldberg v. Kelly,

397 U.S. 254, 271 (1970) (explaining that welfare recipients are entitled to certain

procedures with regard to determining their eligibility, regardless of whether they

are actually eligible).




                                           12
            Case: 25-132     Document: 2       Page: 20   Filed: 06/16/2025




             3.     The Rescission of the Vidal Memo. Was Retroactive

      The Patent Office has argued its rescission of the Vidal Memo. was not

retroactive because “the rescission is applicable only to cases in which a final

decision on institution had not yet been made” and the Board allowed supplemental

briefing in view of the rescission. Motorola Sols., Inc. v. Stellar, LLC, No. IPR2024-

01284, 2025 WL 1503220, at *2 (P.T.A.B. May 23, 2025). The Court should reject

the Patent Office’s position that the Vidal Memo.’s rescission was not retroactive.

      Retroactivity is measured by whether a party is prejudiced for its past acts in

reliance on an old rule, not whether a tribunal applies the new rule only after

announcing it. The critical question is “whether the new provision attaches new legal

consequences to events completed before its enactment.” Landgraf v. USI Film

Prods., 511 U.S. 244, 269–70 (1994). Assume a teacher on the first day of class

promises students that she will give at least a B to any student who attends each class

on time, but on the morning of the final exam announces that in giving final grades

in a few weeks she will not follow that rule. That would be a retroactive application

of the new rule to past behavior, even though the new rule was announced before it

was applied. The same is true here.

      Here, when SAP served its invalidity contentions asserting public-use and on-

sale prior art related to the publications asserted in its IPR, it did so knowing that

this posed no risk of institution denial under the Vidal Memo. The same was true


                                          13
            Case: 25-132     Document: 2        Page: 21   Filed: 06/16/2025




when it waited seven months to file its petition after being sued. But with the

retroactive rescission of that Memo., the Board denied institution based on those past

acts. That is a textbook retroactive application of a new legal landscape to past

actions.

      The opportunity to file a supplemental brief did not allow SAP to hit rewind

on its invalidity contentions or strategic decisions made in how and when it prepared

and filed its IPR petition. Nor could such briefing otherwise undo the prejudice

suffered from the rescission of the binding agency guidance on which SAP had

reasonably relied.

             4.      The Patent Office Violated SAP’s Due Process Rights

      Here, the retroactive rescission of the Vidal Memo. drastically altered the

legal consequences of SAP’s prior conduct in the district court (asserting system

prior art and serving the Sotera stipulation) and in the Patent Office (filing an IPR

petition seven months after being sued).

      “To satisfy the Due Process Clause, [an agency] must at a minimum ‘provide

regulated parties fair warning of the conduct a regulation prohibits or requires.’”

Mexichem Fluor, Inc. v. EPA, 866 F.3d 451, 462 (D.C. Cir. 2017). Such “fair

warning” or “fair notice” requires that, “when an agency issues guidance, it cannot

‘change the requirements set forth therein without consideration of applicants’

reasonable reliance interests, proper notice to applicants, and a reasonable


                                           14
            Case: 25-132     Document: 2       Page: 22   Filed: 06/16/2025




opportunity for applicants to conform to the changed requirements.’” FDA v. Wages

& White Lion Invs., LLC, 145 S. Ct. 898, 918 (2025) (describing the concept of “fair

notice” from a 5th Circuit decision). The Office gave SAP no such fair notice. See

also, e.g., Cemex Inc. v. Dep’t of the Interior, 560 F. Supp. 3d 268, 281–82 (D.D.C.

2021) (explaining that due process requires an agency to take into account reliance

interests when changing course).

      In rescinding the Vidal Memo. retroactively, the Office did not acknowledge

the reliance interests of SAP and other petitioners who had filed IPR petitions relying

on the Vidal Memo.’s binding guidance. (Appx81; Appx82–84.)

      “In general, the ill effect of retroactivity is the frustration of the expectations

of those who have justifiably relied on a prior rule.” McDonald v. Watt, 653 F.2d

1035, 1044 (5th Cir. 1981) (holding that an agency’s rule, which reversed an

established agency practice on which oil and gas lease applicants relied, should be

given prospective effect only). Here, SAP justifiably relied on the Vidal Memo. in

choosing when to file and filing its IPR petition, and in choosing invalidity defenses

to assert in the parallel district court action. The Court should order the Office to

apply the rescission prospectively only, and remand for the Office to reconsider

SAP’s petition accordingly. 3


      3
            As explained above, the Patent Office lacks authority to legislatively
promulgate retroactive rules. Where agencies sometimes do have authority to change


                                          15
            Case: 25-132     Document: 2       Page: 23   Filed: 06/16/2025




      C.     Denying Institution Based on SAP Not Agreeing to
             Forgo System Prior Art in the District Court Action Rewrites
             the Estoppel Statute and Violates the Separation of Powers

      The Board’s mandate that SAP accept a more expansive estoppel at institution

than that imposed by the estoppel statute after a final written decision violates the

separation of powers because it is inconsistent with the statute.

      The U.S. Constitution gives each branch of government different powers, and

no branch can “encroach upon the powers confided to the others.” Kilbourn v.

Thompson, 103 U.S. 168, 191 (1880); see also Miller v. French, 530 U.S. 327, 341

(2000). Congress has the “duty of making laws,” the President has “the duty of

executing them,” and the judiciary has “the duty of interpreting and applying them.”

Massachusetts v. Mellon, 262 U.S. 447, 488 (1923). This separation of powers is

“essential to the preservation of liberty” (Mistretta v. United States, 488 U.S. 361,

380 (1989)) because it “prevents the accumulation of all powers, legislative,

executive, and judiciary, in the same hands” (Patchak v. Zinke, 583 U.S. 244, 249–

50 (2018) (internal quotation marks omitted)).



a policy retroactively is in the context of a specific adjudication. But when an agency
does so, it must consider reliance interests and balance them against the reasons for
changing its policy. See, e.g., Reyes v. Garland, 11 F.4th 985, 991–93 (9th Cir. 2021)
(explaining that agency adjudicatory rules may have a retroactive effect in some
circumstances, and that the permissibility of such retroactivity must be assessed by
balancing reliance interests against other interests); Mejia v. Garland, No. 19-1468,
2024 WL 2944002, at *1 (1st Cir. June 11, 2024) (remanding a retroactive agency
policy developed through adjudication for an agency to weigh the advantages and
disadvantages of retroactivity).

                                          16
            Case: 25-132     Document: 2       Page: 24   Filed: 06/16/2025




      In the America Invents Act, Congress gave the public a choice between a

narrow patent challenge procedure (IPR) or a broader patent challenge procedure

(post grant review (“PGR”)) and limited the estoppel scope proportionately. An IPR

is limited to unpatentability grounds based on printed publication prior art, while

PGR permits unpatentability challenges on any ground recognized in the Patent Act,

including ones based on product prior art, as well as challenges under Sections 101

and 112. 35 U.S.C. §§ 311(b), 321(b). Congress provided for estoppel provisions

consistent in scope with the chosen review, namely any ground raised or that

reasonably could have been raised in the IPR or PGR proceeding, respectively.

35 U.S.C. §§ 315(e), 325(e).

      Upon a final written decision in an IPR, the estoppel statute bars a petitioner

from raising in district court any Section 102 or 103 invalidity ground based on

patents or printed publications that it reasonably could have raised in the IPR.

35 U.S.C. §§ 311(b), 315(e). “IPR estoppel applies only to a petitioner’s assertions

in district court that the claimed invention is invalid under 35 U.S.C. §§ 102 or 103

because it was patented or described in a printed publication (or would have been

obvious only on the basis of prior art patents or printed publications).” Ingenico Inc.

v. IOENGINE, LLC, 136 F.4th 1354, 1366–67 (Fed. Cir. 2025). “IPR estoppel does

not preclude a petitioner from asserting that a claimed invention was known or used

by others, on sale, or in public use in district court. These are different grounds that


                                          17
            Case: 25-132     Document: 2       Page: 25   Filed: 06/16/2025




could not be raised during an IPR.” Id. Thus, Congress spoke expressly to the impact

of IPR proceedings on the available defenses in parallel or later district court

litigation and provided for proportionality.

      The Office, however, has effectively rewritten this estoppel statute by

imposing a more expansive estoppel requirement at the institution stage than that

imposed by the estoppel statute after a final written decision. Despite finding that

“Petitioner’s challenge is straightforward and definitely meets the standard for

institution” (Appx13), the Board here nonetheless denied institution primarily

because “if we were to institute review and trigger Petitioner’s Sotera stipulation,

Petitioner would remain free to pursue a system-based invalidity challenge in the

district court based on essentially the same prior art that would be at issue here”

(Appx14). In other words, the Board found that SAP’s Sotera stipulation—agreeing

(if the IPR were instituted) not to pursue in district court any ground it could have

raised in IPR —was not enough to avoid discretionary denial. According to the

Board, to clear the discretionary denial hurdle, SAP needed to also agree, upon

institution, to forgo unpatentability challenges based on system art that it could not

have raised in IPR. Thus, the Office effectively conditioned institution on SAP

accepting a level of invalidity defense forfeiture in court at odds with Congress’s

statutory framework.

      This inconsistency with the statute violates the constitutional separation of


                                         18
            Case: 25-132     Document: 2      Page: 26   Filed: 06/16/2025




powers. See Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 327 (2014). In Utility Air,

the Supreme Court determined that an EPA rule “would deal a severe blow to the

Constitution’s separation of powers” because it rewrote clear statutory thresholds

and was “inconsistent with” the statute’s structure and design. Id. at 321. The Court

“reaffirm[ed] the core administrative-law principle that an agency may not rewrite

clear statutory terms to suit its own sense of how the statute should operate.” Id. at

328.

       Similarly, here, the Board’s mandate that SAP forfeit system-art-based

invalidity challenges in district court is inconsistent with the estoppel statute’s

structure and design to limit estoppel to only those grounds the petitioner reasonably

could have raised in IPR. See also Washington v. Trump, 768 F. Supp. 3d 1239, 1263

(W.D. Wash. 2025) (When the executive branch’s actions “purport to condition

congressionally appropriated funds in a manner that effectively rewrites the law,

they usurp Congress’s legislative role and thus amount to an end run around the

separation of powers.”); cf. City of Portland v. United States, 969 F.3d 1020, 1041

(9th Cir. 2020) (finding that a regulation effectively rewrote a statute when it

“depart[ed] from the carefully crafted balance” in the statute).

       The Patent Office’s discretion to deny a meritorious inter partes review

(“IPR”) petition is cabined by the Constitution. The Board’s decision to deny

institution of SAP’s IPR petition because SAP did not forgo an unpatentability


                                         19
            Case: 25-132     Document: 2      Page: 27   Filed: 06/16/2025




ground that it could not have raised in the IPR violated the Constitution’s separation

of powers because the Board’s decision was inconsistent with the statutory

framework limiting estoppel to only the grounds that reasonably could have been

raised in the IPR.

VI.   CONCLUSION

      To correct the Office’s violations of the Constitution, the Court should grant

the requested mandamus relief.



                                       Respectfully submitted.

                                       /s/ John D. Vandenberg
                                       John D. Vandenberg
                                       Samuel Thacker
                                       Andrew M. Mason
                                       Sarah E. Jelsema
                                       Klarquist Sparkman, LLP
                                       121 S.W. Salmon Street, Suite 1600
                                       Portland, Oregon 97204-2988
                                       (503) 595-5300
                                       john.vandenberg@klarquist.com

                                       Counsel for Petitioner
                                       SAP America, Inc.

                                       June 13, 2025




                                         20
           Case: 25-132   Document: 2    Page: 28   Filed: 06/16/2025




CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATION,
 TYPEFACE REQUIREMENTS, AND TYPE STYLE REQUIREMENTS

1.    This brief complies with the type-volume limitation of Federal Rule of
Appellate Procedure 21(d)(1). The body of the petition contains 4,517 words,
excluding the portions exempted by rule.

2.    This brief complies with the typeface requirements of Federal Rule of
Appellate Procedure 32(a)(5) or Federal Circuit Rule 28.1 and the type style
requirements of Federal Rule of Appellate Procedure 32(a)(6).

_ This brief has been prepared in a proportionally spaced typeface using
Microsoft Word for Office 365 in 14-point Times New Roman, or

___ This brief has been prepared in a monospaced typeface using with [state
number of characters per inch and name of type style].

June 13, 2025                             /s/ John D. Vandenberg
Date                                      John D. Vandenberg

                                          Counsel for Petitioner
                                          SAP America, Inc.




                                    21
            Case: 25-132     Document: 2      Page: 29   Filed: 06/16/2025




                           CERTIFICATE OF SERVICE

      I certify that I electronically filed this document with the United States Court

of Appeals for the Federal Circuit using the CM/ECF system on June 13, 2025.

      I further certify that this document was sent by Federal Express on June 13,

2025, to lead counsel for Cyandia, Inc. at the following address:

                                 James Hannah
                    Herbert Smith Freehills Kramer (US) LLP
                            333 Twin Dolphin Drive
                                   Suite 700
                          Redwood Shores, CA 94065

      I further certify that courtesy copies of this document were sent to counsel

above (James.Hannah@hsfkramer.com) and the following additional counsel of

record for Cyandia, Inc., on June 13, 2025:

                 Jeffrey H. Price, Jeffrey.Price@hsfkramer.com
                Kristopher Kastens, Kris.Kastens@hsfkramer.com
                   Jenna Fuller, Jenna.Fuller@hsfkramer.com
                 Charles Keller, Charles.Keller@hsfkramer.com

      I further certify that this document was sent to efileSO@uspto.gov and also

by U.S.P.S. Express Mail to the following address on June 13, 2025:

                              Office of the Solicitor
                    United States Patent and Trademark Office
                                   Mail Stop 8
                                  P.O. Box 1450
                        Alexandria, Virginia 22313-1450

Dated June 13, 2025.                           /s/ John D. Vandenberg
                                               John D. Vandenberg


                                         22
   Case: 25-132    Document: 2    Page: 30   Filed: 06/16/2025




                         No. 25-____



     United States Court of Appeals
         for the Federal Circuit

                  IN RE SAP AMERICA, INC.,
                          Petitioner.



            On Petition for Writ of Mandamus to the
United States Patent and Trademark Office in No. IPR2024-01495


           APPENDIX TO SAP AMERICA, INC’S
          PETITION FOR WRIT OF MANDAMUS

                                 John D. Vandenberg
                                 Samuel Thacker
                                 Andrew M. Mason
                                 Sarah E. Jelsema
                                 Klarquist Sparkman, LLP
                                 121 S.W. Salmon Street, Suite 1600
                                 Portland, Oregon 97204-2988
                                 (503) 595-5300
                                 john.vandenberg@klarquist.com

                                 Counsel for Petitioner
                                 SAP America, Inc.
             Case: 25-132    Document: 2        Page: 31   Filed: 06/16/2025




                             TABLE OF CONTENTS

   PTAB                            Description                                 Appx No.
  Paper or
  Ex. No.
Paper 18       Order Denying Director Review, May 29, 2025.              Appx1–3

Paper 13       Decision Denying Institution of Inter Partes              Appx4–15
               Review, April 7, 2025.

N/A            PTAB Parallel Litigation Study: Executive            Appx16–24
               Summary, available at
               https://www.uspto.gov/sites/default/files/documents/
               ptab_parallel_litigation_study_exec_summ_202206
               21_.pdf. June 2022.

N/A            Memorandum from Katherine K. Vidal to Members Appx25–33
               of the Patent Trial and Appeal Board, “Interim
               Procedure for Discretionary Denials in AIA Post-
               Grant Proceedings with Parallel District Court
               Litigation,” available at:
               https://web.archive.org/web/20250203023353/https:
               /www.uspto.gov/sites/default/files/documents/interi
               m_proc_discretionary_denials_aia_parallel_district_
               court_litigation_memo_20220621_.pdf. Published
               June 21, 2022, as captured by The Wayback
               Machine on February 3, 2025.

N/A            Press Release: “Director Vidal Provides Clarity to        Appx34–36
               Patent Trial and Appeal Board Practice on
               Discretionary Denials of Patent Challenges Based
               on Parallel Litigation,” available at
               https://www.uspto.gov/about-us/news-
               updates/director-vidal-provides-clarity-patent-trial-
               and-appeal-board-practice. June 22, 2022.




                                           ii
            Case: 25-132   Document: 2         Page: 32   Filed: 06/16/2025




   PTAB                           Description                                 Appx No.
 Paper or
  Ex. No.
N/A           PowerPoint, “Patent Trial and Appeal Board           Appx37–79
              Boardside Chat: Discretionary Denials in AIA Post-
              Grant Proceedings with Parallel Litigation,”
              available at
              https://www.uspto.gov/sites/default/files/documents/
              PTABBoardsideChatDiscretionaryDenialsJuly2022.
              pdf. July 7, 2022.

Ex. 1045      Sotera Stipulation. January 14, 2025.                     Appx80

N/A           Website Notice: “USPTO Rescinds Memorandum         Appx81
              Addressing Discretionary Denial Procedures,”
              available at
              https://web.archive.org/web/20250305132751/https:
              /www.uspto.gov/about-us/news-updates/uspto-
              rescinds-memorandum-addressing-discretionary-
              denial-procedures. Published February 28, 2025, as
              captured by The Wayback Machine on March 5,
              2025.

N/A           Memorandum from Scott Boalick, “Guidance on          Appx82–84
              USPTO’s recission of Interim Procedure for
              Discretionary Denials in AIA Post-Grant
              Proceedings with Parallel District Court
              Litigation” available at
              https://www.uspto.gov/sites/default/files/documents/
              guidance_memo_on_interim_procedure_recission_2
              0250324.pdf. March 24, 2025.

Paper 14      Petitioner’s Request for Director Review, April 17,       Appx85–102
              2025.

N/A           Docket of IPR2024-01495.                                  Appx103–106




                                         iii
           Case: 25-132    Document: 2        Page: 33   Filed: 06/16/2025

Director_PTABDecision_Review@uspto.gov                                  Paper 18
571.272.7822                                                  Date: May 29, 2025

          UNITED STATES PATENT AND TRADEMARK OFFICE


BEFORE THE OFFICE OF THE UNDER SECRETARY OF COMMERCE
   FOR INTELLECTUAL PROPERTY AND DIRECTOR OF THE
     UNITED STATES PATENT AND TRADEMARK OFFICE


                             SAP AMERICA, INC.,
                                  Petitioner,

                                         v.

                                CYANDIA, INC.,
                                 Patent Owner.


                      IPR2024-01432 (Patent 8,751,948 B2)
                      IPR2024-01495 (Patent 8,578,285 B2)
                     IPR2024-01496 (Patent 8,595,641 B2)1



Before COKE MORGAN STEWART, Acting Under Secretary of
Commerce for Intellectual Property and Acting Director of the United States
Patent and Trademark Office.




                                     ORDER




1
    This order applies to each of the above-listed proceedings.



                                    Appx001
        Case: 25-132     Document: 2       Page: 34   Filed: 06/16/2025

IPR2024-01432 (Patent 8,751,948 B2)
IPR2024-01495 (Patent 8,578,285 B2)
IPR2024-01496 (Patent 8,595,641 B2)
      The Office received a request for Director Review of the Decision
denying institution in each of the above-captioned cases and an authorized
response to each request. See Papers 15, 16.2 The requests and responses
were referred to me.
      Upon consideration of the requests, it is:
      ORDERED that the requests for Director Review are denied.




2
 Citations are to the record in IPR2024-01432. Similar papers were filed in
IPR2024-01495 and IPR2024-01496.

                                       2

                                  Appx002
       Case: 25-132   Document: 2       Page: 35   Filed: 06/16/2025

IPR2024-01432 (Patent 8,751,948 B2)
IPR2024-01495 (Patent 8,578,285 B2)
IPR2024-01496 (Patent 8,595,641 B2)

FOR PETITIONER:

Roy Chamcharas
Andrew Mason
Todd Siegel
Samuel Thacker
KLARQUIST SPARKMAN, LLP
roy.chamcharas@klarquist.com
andrew.mason@klarquist.com
todd.siegel@klarquist.com
samuel.thacker@klarquist.com



FOR PATENT OWNER:
James Hannah
Jeffrey Price
Kristopher Kastens
Jenna Fuller
KRAMER LEVIN NAFTALIS & FRANKEL LLP
jhannah@kramerlevin.com
jprice@kramerlevin.com
kkastens@kramerlevin.com
jfuller@kramerlevin.com




                                    3

                              Appx003
        Case: 25-132     Document: 2        Page: 36   Filed: 06/16/2025

Trials@uspto.gov                                                      Paper 13
Tel: 571-272-7822                                           Date: April 7, 2025


        UNITED STATES PATENT AND TRADEMARK OFFICE


         BEFORE THE PATENT TRIAL AND APPEAL BOARD


                           SAP AMERICA, INC.,
                                Petitioner,

                                       v.

                             CYANDIA, INC.,
                              Patent Owner.


                              IPR2024-01495
                            Patent 8,578,285 B2



Before JEFFREY S. SMITH, MITCHELL G. WEATHERLY, and
JASON W. MELVIN, Administrative Patent Judges.
WEATHERLY, Administrative Patent Judge.


                                DECISION
                 Denying Institution of Inter Partes Review
                              35 U.S.C. § 314

                            I. INTRODUCTION
A. Background
      SAP America, Inc. (“Petitioner”) filed a petition (Paper 1, “Pet.”) to
institute an inter partes review of claims 1–10, 13, 17, 18, and 36–42 (the
“challenged claims”) of U.S. Patent No. 8,578,285 B2 (Ex. 1001, “the
’285 patent”). 35 U.S.C. § 311. Cyandia, Inc. (“Patent Owner”) timely filed




                                  Appx004
           Case: 25-132    Document: 2       Page: 37   Filed: 06/16/2025

IPR2024-01495
Patent 8,578,285 B2

a Preliminary Response. Paper 6 (“Prelim. Resp.”). With our prior
authorization, Petitioner and Patent Owner collectively filed four additional
briefs including: Petitioner’s Reply to the Patent Owner Preliminary
Response (Paper 7, “Reply”); Patent Owner’s Preliminary Surreply (Paper 8,
“Surreply”); Petitioner’s Supplemental Brief Regarding Fintiv (Paper 9,
“Pet. Fintiv”); and Patent Owner’s Supplemental Fintiv Briefing (Paper 10,
“PO Fintiv”).
        Institution of an inter partes review is authorized by statute when “the
information presented in the petition filed under section 311 and any
response filed under section 313 shows that there is a reasonable likelihood
that the petitioner would prevail with respect to at least 1 of the claims
challenged in the petition.” 35 U.S.C. § 314(a).
        Petitioner argues that the challenged claims are unpatentable as
obvious under 35 U.S.C. § 103 in view of the combined teachings of
WebSphere-Portal,1 Ben-Natan,2 and WebSphere-Everyplace.3


1
 Juan R. Rodriguez, et al., IBM RATIONAL APPLICATION DEVELOPER V6
PORTLET APPLICATION DEVELOPMENT AND PORTAL TOOLS, August 2005
(Ex. 1004, “WebSphere-Portal”).
2
 Ron Ben-Natan, et al., MASTERING IBM® WEBSPHERE® PORTAL, EXPERT
GUIDANCE TO BUILD AND DEPLOY PORTAL APPLICATIONS, 2004 (Ex. 1005,
“Ben-Natan”).
3
    WebSphere-Everyplace refers to a four-volume set of materials including:
• Juan Rodriguez, et al., IBM WEBSPHERE EVERYPLACE ACCESS V5
  HANDBOOK FOR DEVELOPERS AND ADMINISTRATORS, VOLUME I:
  INSTALLATION AND ADMINISTRATION, May 2005 (Ex. 1006);
• Juan R. Rodriguez, et al., IBM WEBSPHERE EVERYPLACE ACCESS V5
  HANDBOOK FOR DEVELOPERS AND ADMINISTRATORS, VOLUME II:
  APPLICATION DEVELOPMENT, March 2005 (Ex. 1007);


                                         2

                                    Appx005
        Case: 25-132     Document: 2       Page: 38   Filed: 06/16/2025

IPR2024-01495
Patent 8,578,285 B2

      For the reasons explained below, we exercise our discretion to deny
the Petition under 35 U.S.C. § 314(a).
B. Related Proceedings
      Petitioner identified as a related proceeding the co-pending district
court proceeding of Cyandia, Inc. v. SAP America, Inc. et al, Case No. 2-24-
cv-00096 (E.D. Tex.), filed February 12, 2024 (the “Litigation”). Pet. x;
Paper 4, 1. Patent Owner also identifies as being related the proceeding in
which Petitioner filed petitions challenging claims in the following related
patents: U.S. Patent No. 8,595,641 (IPR2024-01496) and U.S. Patent No.
8,751,948 (IPR2024-01432 and IPR2024-01433). Paper 4, 1.
            II. DISCRETIONARY DENIAL UNDER § 314(A)
      Patent Owner asserts that the Board should exercise its discretion to
deny the Petition. Prelim. Resp. 7; PO Fintiv. We have discretion to deny
institution of an inter partes review under the provisions of 35 U.S.C.
§ 314(a) (authorizing institution of an inter partes review under particular
circumstances, but not requiring institution under any circumstances). See
Cuozzo Speed Techs., LLC v. Lee, 579 U.S. 261, 273 (2016) (“[T]he
agency’s decision to deny a petition is a matter committed to the Patent
Office’s discretion.”); SAS Inst. Inc. v. Iancu, 138 S. Ct. 1348, 1356 (2018)
(“[Section] 314(a) invests the Director with discretion on the question
whether to institute review . . . .” (emphasis omitted)); Harmonic Inc. v. Avid


• Juan R. Rodriguez, et al., IBM WEBSPHERE EVERYPLACE ACCESS V5
  HANDBOOK FOR DEVELOPERS AND ADMINISTRATORS, VOLUME III: E-
  MAIL AND DATABASE SYNCHRONIZATION, April 2005 (Ex. 1008); and
• Juan Rodriguez, et al., IBM WEBSPHERE EVERYPLACE ACCESS V5
  HANDBOOK FOR DEVELOPERS AND ADMINISTRATORS, VOLUME IV:
  ADVANCED TOPICS, March 2005 (Ex. 1009).


                                       3

                                  Appx006
          Case: 25-132     Document: 2       Page: 39   Filed: 06/16/2025

IPR2024-01495
Patent 8,578,285 B2

Tech., Inc., 815 F.3d 1356, 1367 (Fed. Cir. 2016) (“[T]he PTO is permitted,
but never compelled, to institute an IPR proceeding.”).
        In Apple Inc. v. Fintiv, Inc., IPR2020-00019, Paper 11 (PTAB Mar.
20, 2020) (precedential) (“Fintiv”), the Board articulated a list of factors
(“Fintiv Factors”) that we consider in determining whether to discretionarily
deny institution based on an advanced stage of a parallel proceeding:
        1. whether the court granted a stay or evidence exists that one
        may be granted if a proceeding is instituted;
        2. proximity of the court’s trial date to the Board’s projected
        statutory deadline for a final written decision;
        3. investment in the parallel proceeding by the court and the
        parties;
        4. overlap between issues raised in the petition and in the parallel
        proceeding;
        5. whether the petitioner and the defendant in the parallel
        proceeding are the same party; and
        6. other circumstances that impact the Board’s exercise of
        discretion, including the merits.
Fintiv, Paper 11, 5–6. “These factors relate to whether efficiency, fairness,
and the merits support the exercise of authority to deny institution in view of
an earlier trial date in the parallel proceeding.” Id. In evaluating these
factors, we take “a holistic view of whether efficiency and integrity of the
system are best served by denying or instituting review.” Id. (citing Patent
Trial and Appeal Board Consolidated Trial Practice Guide (“CTPG”) at 55
(November 2019)).4




4
    Available at https://www.uspto.gov/TrialPracticeGuideConsolidated.


                                         4

                                     Appx007
         Case: 25-132        Document: 2       Page: 40   Filed: 06/16/2025

IPR2024-01495
Patent 8,578,285 B2

      Petitioner contends that the parallel district-court proceeding does not
justify discretionary denial. Pet. 3; Pet. Fintiv. In particular, Petitioner
asserts that Fintiv Factors 3, 4 and 6 weigh against discretionary denial and
Fintiv Factor 1 is neutral. Pet. Fintiv 1. Patent Owner disagrees and
contends that Fintiv Factors 2–6 weigh in favor of discretionary denial. PO
Fintiv 1–2. In our analysis below, we address each Fintiv Factor in turn.
A. Fintiv Factor 1: Existence or Likelihood of a Stay
      Neither party has moved for a stay in the Litigation. Pet. Fintiv 1;
Prelim. Resp. 7–8. Petitioner contends that it will move for a stay if we
institute an inter partes review. Pet. Fintiv 1. Patent Owner contends that
Judge Gilstrap “frequently denies stays” in patent cases involving parallel
inter partes review proceedings. Prelim. Resp. 7–8. We will not speculate
on the likelihood of whether a stay will be entered in the Litigation and find
that Fintiv Factor 1 is neutral.
B. Fintiv Factor 2: Trial Date
      Trial is set to begin in the Litigation on October 6, 2025, about six
months before the deadline for entering a final written decision in this
proceeding. Pet. Fintiv 1; Prelim. Resp. 8. Patent Owner contends that the
median time to trial in the Eastern District of Texas is 21.9 months, which
implies that trial would begin on December 12, 2025, about four months
before the deadline for entering a final written decision in this proceeding.
Prelim. Resp. 8. Under these circumstances, Patent Owner argues that Fintiv
Factor 2 weighs “moderately to strongly in favor” of discretionarily denying
institution. PO Fintiv. 1.
      Petitioner contends that Fintiv Factor 2 “only slightly favors denial”
because the October trial date is “uncertain due to the pending transfer


                                           5

                                    Appx008
         Case: 25-132     Document: 2       Page: 41   Filed: 06/16/2025

IPR2024-01495
Patent 8,578,285 B2

motion and cross-motion.”5 Pet. Fintiv 1; see also Pet. 3 (indicating that
Petitioner’s motion to transfer and Patent Owner’s cross-motion to transfer
are pending in the Litigation). On March 28, 2025, and with our
authorization, Patent Owner filed the district court’s order denying both
motions to transfer. Ex. 2009.
      When, as here, the trial date is set to be earlier than the projected
deadline for entering a final written decision, “the Board generally has
weighed this fact in favor of exercising authority to deny institution.”
Fintiv, at 9. Because the trial date is set and the uncertainty in that date has
diminished considerably due to the district court’s denial of both motions to
transfer the Litigation to a different venue, we find that Fintiv Factor 2
weighs in favor of discretionarily denying institution.
C. Fintiv Factor 3: Investment in District Court
      The parties disagree about how we should weigh the evidence related
to Fintiv Factor 3. In the Litigation, a Markman hearing is set for April 24,
2025,6 about two weeks after our decision on institution. Ex. 3001, 9. To
date, the district court has not issued any substantive orders, held hearings,
or otherwise invested resources on invalidity issues. Pet. Fintiv 1–2. Initial
expert reports are due May 12, 2025, and expert discovery closes June 23,
2025. Id. at 2. Petitioner filed the Petition about four months after it




5
 Petitioner moved to change the venue of the Litigation to the Northern
District of California, and Patent Owner has cross-moved to change the
venue of the Litigation to the District of Delaware. Ex. 3001, 2, 5.
6
 The original date of the Markman hearing was April 2, 2025, but the
hearing was continued to April 24, 2025, on March 25, 2025. Ex. 3001, 9.


                                        6

                                   Appx009
         Case: 25-132      Document: 2       Page: 42   Filed: 06/16/2025

IPR2024-01495
Patent 8,578,285 B2

received infringement contentions in the Litigation. Pet. Fintiv 2 (citing
Ex. 2006, 4); PO Fintiv 2.
       On these facts, Petitioner argues that Fintiv Factor 3 weighs against
discretionary denial. Pet. Fintiv 1–2. Patent Owner argues that Fintiv
Factor 3 weighs in favor of discretionary denial or is “at least neutral”
because “the parties have expended significant fact discovery, and the
Markman hearing will be held before institution.” PO Fintiv 2. Patent
Owner also argues that the four-month time between its service of
infringement contentions and the filing of the Petition constitutes
“substantial delay” that favors discretionary denial under Fintiv Factor 3. Id.
(citing AT&T Servs. v. ASUS Tech., IPR2024-00992, Paper 14 at 12
(P.T.A.B. Dec. 16, 2024) (five months between infringement contentions
and the petition is a “substantial delay”)).
       “If, at the time of the institution decision, the district court has not
issued orders related to the patent at issue in the petition, this fact weighs
against exercising discretion to deny institution.” Fintiv, 10. The district
court has not issued substantive orders related to the ’285 patent, and the
district court has continued the Markman hearing to a date two weeks after
the deadline for our institution decision. On March 26, 2025, in its order
denying the parties’ motions to change venue and when commenting upon
the effect of a transfer on judicial economy, the district court remarked that
“this case is still in its early stages” and found that factors of judicial
economy as it related to transfer were “neutral.” Ex. 2009, 9. Under these
circumstances, we find that Fintiv Factor 3 weighs against discretionarily
denying institution.




                                         7

                                     Appx010
         Case: 25-132       Document: 2       Page: 43   Filed: 06/16/2025

IPR2024-01495
Patent 8,578,285 B2

D. Fintiv Factor 4: Overlap with Issues Raised in District Court
      Petitioner has stipulated that “should IPR be instituted in IPR2024-
01432, 2024-01433, 2024-01495, or 2024-01496, SAP will not pursue in the
[Litigation] any ground of unpatentability that is raised or reasonably could
have been raised in any instituted IPR.” Ex. 1045. We consider such a
stipulation to be substantively the same as the one entered in Sotera
Wireless, Inc. v. Masimo Corp., IPR2020-01019, Paper 12 at 13 (PTAB
Dec. 1, 2020) (precedential as to § II.A). The Sotera decision found that the
presence of such a stipulation “ensures that an inter partes review is a ‘true
alternative’ to the district court proceeding” and therefore “weighs strongly”
against discretionarily denying institution. Sotera, 19. Petitioner also
contends, without being specific, that “most of the challenged claims will be
dropped from the district court.” Pet. Fintiv 2; see also Ex. 3001, 7 (Order
Focusing Asserted Claims and Prior Art References to Reduce Costs).
Patent Owner argues that Petitioner’s Sotera stipulation will have limited
effect in reducing the overlap of patentability issues being addressed in both
fora because “Petitioner intends to rely on the WebSphere system described
in the Petition’s cited art.” PO Fintiv 2 (citing Ex. 2007 ¶¶ 2–3). Neither
party provides specific details on the degree to which Petitioner’s
obviousness challenge here is duplicated in Petitioner’s invalidity
contentions in the Litigation or whether other invalidity defenses are also
raised in the Litigation.
      Although Petitioner has filed a Sotera stipulation, we agree with
Patent Owner that the stipulation has limited practical effect in reducing the
overlapping efforts here and in the Litigation. Petitioner contends in the
district court that the system described in the WebSphere materials renders


                                          8

                                   Appx011
         Case: 25-132     Document: 2       Page: 44   Filed: 06/16/2025

IPR2024-01495
Patent 8,578,285 B2

at least some of the challenged claims invalid. Because Petitioner cannot
challenge claims in this proceeding based on a public use or sale of the
WebSphere system, Petitioner’s Sotera stipulation would not prevent
Petitioner from asserting an invalidity defense in the district court based on
the public use or sale of the WebSphere system. We understand that, in the
Litigation, Petitioner has relied upon the WebSphere publications as prior
art, presumably as evidence describing the WebSphere system that was
publicly used and on sale.
      Regardless of any decision rendered in this proceeding on the
patentability of the challenged claims based on the WebSphere printed
publications, Petitioner may continue to press an invalidity defense based on
the same evidence presented here. Additionally, it appears that all claims
being contested as invalid in the Litigation are also subject to a challenge in
the Petition. The narrowing of asserted claims in the Litigation, if it occurs,
will streamline the parties’ overall dispute on invalidity if we decide to
discretionarily deny institution. So, a majority of the parties’ work that
would be done here will also be required in the Litigation regardless of
whether we institute review. Accordingly, we do not consider the presence
of the Sotera stipulation in our case to ensure that inter partes review would
be a “true alternative” to the Litigation. On balance, we find that Fintiv
Factor 4 weighs in favor of discretionarily denying institution.
E. Fintiv Factor 5: Whether Petitioner Is Defendant in District Court
      The fact that Petitioner is also the defendant in the Litigation weighs
in favor of discretionarily denying institution.




                                        9

                                   Appx012
         Case: 25-132     Document: 2       Page: 45   Filed: 06/16/2025

IPR2024-01495
Patent 8,578,285 B2

F. Fintiv Factor 6: Other Circumstances Including Merits
      Under Fintiv, “if the merits of a ground raised in the petition seem
particularly strong on the preliminary record, this fact has favored
institution.” Fintiv, 14–15. Fintiv further instructs us that: “In such cases,
the institution of a trial may serve the interest of overall system efficiency
and integrity because it allows the proceeding to continue in the event that
the parallel proceeding settles or fails to resolve the patentability question
presented in the PTAB proceeding.” Id. at 15.
      Petitioner argues that its arguments that the challenged claims are
unpatentable are “compelling” because Patent Owner is “relying on strained
claim constructions that contradict its infringement contentions and raising
apparent anticipation arguments (that a single prior art embodiment
allegedly does not disclose every claim element) without squarely
addressing obviousness.” Pet. Fintiv 2 (citing Prelim. Resp. 15–37,
Surreply 2–9). Essentially, Petitioner contends that its obviousness
challenge turns on claim interpretation. We agree with Petitioner that
currently Patent Owner’s arguments read like an opposition to an
anticipation challenge. Of course, Patent Owner would be free to proffer
additional arguments in opposition to the obviousness challenge during a
trial, so a trial may present issues that are currently not disputed.
      We decline to characterize the merits as sufficiently strong to
overcome the other factors. That is not to say we view Petitioner’s case as
marginal or close. Rather we determine that the other factors are more
persuasive here. Although Petitioner’s challenge is straightforward and
definitely meets the standard for institution, even when balanced against
Patent Owner’s counterarguments, we do not find the challenge to be


                                       10

                                    Appx013
         Case: 25-132      Document: 2       Page: 46   Filed: 06/16/2025

IPR2024-01495
Patent 8,578,285 B2

sufficiently strong to outweigh the evidence discussed above in connection
with Fintiv Factors 1–5. When reviewing all other circumstances, we find
that Fintiv Factor 6 is neutral.
G. Conclusion
      Fintiv Factor 3 is the only factor that weighs against a discretionary
denial under § 314(a). Fintiv Factors 1 and 6 are neutral, and Fintiv Factors
2, 4, and 5 weigh in favor of a discretionary denial. We find particularly
significant that, if we were to institute review and trigger Petitioner’s Sotera
stipulation, Petitioner would remain free to pursue a system-based invalidity
challenge in the district court based on essentially the same prior art that
would be at issue here. On balance, we find that a holistic weighing of all
six Fintiv Factors warrants our exercise of discretion under § 314(a) to deny
institution of review so that the entire dispute between the parties may be
resolved in the Litigation.
                                   III. ORDER
      For the reasons given, it is:
      ORDERED that inter partes review of claims 1–10, 13, 17, 18, and
36–42 of U.S. Patent No. 8,578,285 B2 is not instituted.




                                        11

                                      Appx014
        Case: 25-132    Document: 2     Page: 47   Filed: 06/16/2025

IPR2024-01495
Patent 8,578,285 B2

PETITIONER:

Roy Chamcharas
Andrew M. Mason
Todd M. Siegel
Samuel B. Thacker
KLARQUIST SPARKMAN, LLP
roy.chamcharas@klarquist.com
andrew.mason@klarquist.com
todd.siegel@klarquist.com
samuel.thacker@klarquist.com


PATENT OWNER:
James Hannah
Jeffrey H. Price
Kristopher Kastens
Jenna Fuller
Charles Keller (pro hac vice forthcoming)
KRAMER LEVIN NAFTALIS & FRANKEL, LLP
jhannah@kramerlevin.com
jprice@kramerlevin.com
kkastens@kramerlevin.com
jfuller@kramerlevin.com
ckeller@kramerlevin.com




                                   12

                                Appx015
Case: 25-132   Document: 2   Page: 48   Filed: 06/16/2025




                      Appx016
Case: 25-132   Document: 2   Page: 49   Filed: 06/16/2025




                      Appx017
Case: 25-132   Document: 2   Page: 50   Filed: 06/16/2025




                      Appx018
Case: 25-132   Document: 2   Page: 51   Filed: 06/16/2025




                      Appx019
Case: 25-132   Document: 2   Page: 52   Filed: 06/16/2025




                      Appx020
Case: 25-132   Document: 2   Page: 53   Filed: 06/16/2025




                      Appx021
Case: 25-132   Document: 2   Page: 54   Filed: 06/16/2025




                      Appx022
Case: 25-132   Document: 2   Page: 55   Filed: 06/16/2025




                      Appx023
Case: 25-132   Document: 2   Page: 56   Filed: 06/16/2025




                      Appx024
               Case: 25-132          Document: 2            Page: 57         Filed: 06/16/2025




                     UNITED STATES PATENT AND TRADEMARK OFFICE
                          UNDER SECRETARY OF COMMERCE FOR INTELLECTUAL PROPERTY AND
                           DIRECTOR OF THE UNITED STATES PATENT AND TRADEMARK OFFICE




                                           MEMORANDUM
DATE:          June 21, 2022

TO:            Members of the Patent Trial and Appeal Board

FROM:          Katherine K. Vidal       K°'-\W\'fl, l/t!\ Vfda}_
               Under Secretary of Commerce for Inte~        l Prope11y and
               Director of the United States Patent and Tra e ark Office (USPTO or the Office)

SUBJECT:       INTERIM PROCEDURE FOR DISCRETIONARY DENIALS IN AIA POST-
               GRANT PROCEEDINGS WITH PARALLEL DISTRICT COURT
               LITIGATION

                                                Introduction

        Congress designed the America Invents Act (AIA) post-grant proceedings "to establish a

more efficient and streamlined patent system that will improve patent quality and limit

unnecessary and counterproductive litigation costs." H.R. Rep. No. 112-98, pt. 1, at 40 (2011),

2011 U.S.C.C.A.N. 67, 69; see S. Rep. No. 110-259, at 20 (2008). Parallel district com1 and

AIA proceedings involving the same parties and invalidity challenges can increase, rather than

limit, litigation costs. Based on the USPTO's experience with administering the AIA, the agency

has recognized the potential for inefficiency and gamesmanship in AIA proceedings, given the

existence of parallel proceedings between the Office and district com1s. To minimize potential

conflict between the Patent Trial and Appeal Board (PTAB) and district com1 proceedings, the

Office designated as precedential Apple Inc. v. Fintiv, Inc. 1 This precedential decision ai1iculates



1
 See Apple Inc. v. Fintiv, Inc., IPR2020-00019, Paper 11 (PTAB Mar. 20, 2020) (designated
precedential May 5, 2020).


                         P.O. Box 1450, Alexandria, Virginia 22313-1450 - WWW.USPTO.GOV

                                                  Appx025
                Case: 25-132         Document: 2       Page: 58      Filed: 06/16/2025




the following set of nonexclusive factors (the Fintiv factors) that the PTAB considers on a case-

specific basis in determining whether to institute an AIA post-grant proceeding where there is

parallel district comt litigation:

          1. whether the comt granted a stay or evidence exists that one may be granted if a
             proceeding is instituted;
          2. proximity of the comt's trial date to the Board's projected statutory deadline for a
             final written decision;
          3. investment in the parallel proceeding by the comt and the patties;
          4. overlap between issues raised in the petition and in the parallel proceeding;
          5. whether the petitioner and the defendant in the parallel proceeding are the same
             party; and
          6. other circumstances that impact the Board's exercise of discretion, including the
             merits.
        The Office issued a Request for Comments (RFC) 2 on the PTAB's current approaches to

exercising discretion on whether to institute an AIA proceeding, including situations involving

parallel district court litigation. The Office received 822 comments from a wide range of

stakeholders. In light of the feedback received, the Office is planning to soon explore potential

rulemaking on proposed approaches through an Advanced Notice of Proposed Rulemaking. In

the meantime, I have determined that several clarifications need to be made to the PTAB's

current application of Fintiv to discretionary institution where there is parallel litigation.

       As explained below, to benefit the patent system and the public good, the PTAB will not

rely on the Fintiv factors to discretionarily deny institution in view of parallel district comt

litigation where a petition presents compelling evidence of unpatentability. This memorandum

also confirms that the precedential impmt of Fintiv is limited to facts of that case. Namely,

Fintiv involved institution of an AIA proceeding with a parallel district court litigation. The


2
 Discretion to Institute Trials Before the Patent Trial and Appeal Board, 85 FR 66502 (Oct. 20,
2020); Discretion to Institute Trials Before the Patent Trial and Appeal Board; Extension of
Comment Period, 85 FR 73437 (Nov. 18, 2020).


                                                   2
                                               Appx026
                Case: 25-132         Document: 2        Page: 59       Filed: 06/16/2025




plain language of the Fintiv factors is directed to district comt litigation and does not apply to

parallel U.S. International Trade Commission (ITC) proceedings, as the ITC lacks authority to

invalidate a patent and the ITC's invalidity rulings are not binding on the Office or on district

comts.

         Consistent with Sotera Wireless, Inc.,3 the PTAB will not discretionarily deny institution

in view of parallel district court litigation where a petitioner presents a stipulation not to pursue

in a parallel proceeding the same grounds or any grounds that could have reasonably been raised

before the PTAB. Additionally, when considering the proximity of the district comt's trial date

to the date when the PTAB final written decision will be due, the PTAB will consider the median

time from filing to disposition of the civil trial for the district in which the parallel litigation

resides. 4 This memorandum clarifies those practices.

         This memorandum is issued under the Director's authority to issue binding agency

guidance to govern the PTAB's implementation of various statutory provisions, including

directions regarding how those statutory provisions will apply to sample fact patterns. See, e.g.,

35 U.S.C. 3(a)(2)(A); PTAB Standard Operating Procedure (SOP) 2 at 1-2.

                                                Analysis

         Compelling Merits

         In the AIA, Congress established post-grant proceedings, including IPR, PGR, and

covered business method (CBM) proceedings to improve and ensure patent quality by providing

"quick and cost-effective alternatives to litigation" for challenging issued patents. H.R. Rep. No.

112-98, pt. 1, at 48; see also S. Rep. No. 110-259, at 20 (explaining that the "post-grant review



3
  Sotera Wireless, Inc. v. Masimo Corp., IPR2020-01019, Paper 12 (PTAB Dec. 1, 2020)
(precedential as to§ II.A).
4 https://www.uscourts.gov/statistics-reports/analysis-reports/federal-court-management-statistics



                                                    3
                                                Appx027
                Case: 25-132       Document: 2        Page: 60      Filed: 06/16/2025




system ... will give third parties a quick, inexpensive, and reliable alternative to district court

litigation to resolve questions of patent validity"). Congress granted the Office "significant

power to revisit and revise earlier patent grants" as a mechanism "to improve patent quality and

restore confidence in the presumption of validity that comes with issued patents." Cuozzo Speed

Techs., LLC v. Lee, 579 U.S. 261,272 (2016) (quoting H.R. Rep. No. 112-98, pt. 1, at 45, 48).

Given those objectives, compelling, meritorious challenges will be allowed to proceed at the

PTAB even where district court litigation is proceeding in parallel. Compelling, meritorious

challenges are those in which the evidence, if umebutted in trial, would plainly lead to a

conclusion that one or more claims are unpatentable by a preponderance of the evidence. That

said, the PTAB retains discretion to deny institution for proceedings where abuse has been

demonstrated.

       Fintiv factor six reflects that the PTAB considers the merits of a petitioner's challenge

when determining whether to institute a post-grant proceeding in view of parallel district court

litigation. Where the information presented at the institution stage is merely sufficient to meet

the statutory institution threshold,5 the PTAB has the authority, where warranted, to exercise

discretion to deny institution in view of the other Fintiv factors. In contrast, where the PTAB

determines that the information presented at the institution stage presents a compelling




5 Institution of an IPR is authorized by statute only when "the information presented in the

petition . .. and any response ... shows that there is a reasonable likelihood that the petitioner
would prevail with respect to at least 1 of the claims challenged in the petition." 35 U.S.C.
§ 314(a) (2018). Similarly, institution of a PGR, including a CBM, is authorized only when "the
information presented in the petition ... , if such information is not rebutted, would demonstrate
that it is more likely than not that at least 1 of the claims challenged in the petition is
unpatentable" Id. § 324(a).


                                                  4
                                              Appx028
               Case: 25-132         Document: 2        Page: 61      Filed: 06/16/2025




unpatentability challenge, that determination alone demonstrates that the PTAB should not

discretionarily deny institution under Fintiv.6

        This clarification strikes a balance among the competing concerns of avoiding potentially

conflicting outcomes, avoiding overburdening patent owners, and strengthening the patent

system by eliminating patents that are not robust and reliable. Consistent with Congress's giving

the Office the authority to revisit issued patents, the PTAB will not deny institution based on

Fintiv if there is compelling evidence of unpatentability. This approach "allows the proceeding

to continue in the event that the parallel proceeding settles or fails to resolve the patentability

question presented in the PTAB proceeding." Fintiv, Paper 11 at 15. The patent system and the

public good benefit from instituting compelling unpatentability challenges.



       ITC and Fintiv

       In 2018, the PTAB issued a decision in NHK Spring. 7 There, the PTAB held that the

advanced state of a parallel district court litigation involving similar validity disputes could be a

factor weighing in favor of denying institution of an IPR because of concerns over the inefficient



6
  The compelling evidence test affirms the PTAB' s current approach of declining to deny
institution under Fintiv where the evidence of record so far in the case would plainly lead to a
conclusion that one or more claims are unpatentable. See, e.g., Illumina Inc. v. Trs. ofColumbia
Univ. , IPR2020-00988, Paper 20 (PTAB Dec. 8, 2020) (declining to deny under Fintiv in light of
strong evidence on the merits even though four factors weighed in favor of denial and remaining
factor was neutral); Synthego C01p. v. Agilent Techs., Inc., IPR2022-00402, Paper 11 (May 31,
2022) (granting institution as efficiency and integrity of the system would not be served by
denying institution of petition with particularly strong evidence on the merits); Samsung Elecs.
Co. v. Scramoge Tech., Ltd., IPR2022-00241 , Paper 10 (June 13, 2022) (Fintiv analysis
concludes that "very strong" evidence on the merits outweigh concurrent litigation involving
earlier scheduled trial date and significant overlap in proceedings).
7
 NHK Spring Co. v. Intri-Plex Techs., Inc., IPR2018-00752, Paper 8 (PTAB Sept. 12, 2018)
(precedential). This decision also based the denial of institution on Director discretion under 35
U.S.C. § 325(d).


                                                   5
                                               Appx029
               Case: 25-132         Document: 2        Page: 62      Filed: 06/16/2025




use of PTAB's resources. NHK Spring, Paper 8 at 19- 20. Later, in 2020, the PTAB announced

the Fintiv factors, which the PTAB considers when a patent owner raises an argument for

discretionary denial under NHK Spring due to an earlier trial date. Fintiv, Paper 11 at 5-6. The

Fintiv factors focus on the interplay between IPRs and district court litigation. Through that

focus, the Fintiv factors seek to avoid duplicative efforts between the PTAB and federal district

courts. For example, Fintiv factor one asks whether the "comt" has granted a stay or if one may

be granted. Similarly, Fintiv factor two looks at the proximity of the "court" trial date.

Likewise, Fintiv factor three concerns the amount of investment in the parallel proceeding by the

"court" and the parties. Fintiv factors five and six refer to the same parallel proceeding

described in factor three.

        Although the Fintiv factors are directed to district court litigation and not ITC

proceedings, 8 the PTAB has, in the past, denied AIA reviews based on parallel ITC

investigations. 9 Impo1tant differences, however, distinguish ITC investigations from patent

invalidity trials in federal district courts. Unlike district comts, the ITC lacks authority to

invalidate a patent and its invalidity rulings are not binding on either the Office or a district

court. See Tandon Corp. v. U.S.lT.C., 831 F.2d 1017, 1019 (Fed. Cir. 1987). Therefore, an ITC

determination cannot conclusively resolve an assertion of patent invalidity, which instead

requires either district court litigation or a PTAB proceeding to obtain patent cancellation. Thus,

denying institution because of a parallel ITC investigation will not necessarily minimize




8
  Fintiv refers to ITC proceedings in discussing factor one. Fintiv, Paper 11 at 8- 9. Addressing
the situation where district comt litigation is stayed pending an ITC investigation, Fintiv states in
dicta that "it is difficult to maintain a district comt proceeding on patent claims determined to be
invalid at the ITC." Id. at 9.
9
  See, e.g., Philip Morris Prods. S.A. v. Rai Strategic Holdings, Inc., IPR2020-00919, Paper 9
(PTAB Nov. 16, 2020).


                                                   6
                                               Appx030
               Case: 25-132        Document: 2        Page: 63      Filed: 06/16/2025




potential conflicts between PTAB proceedings and district court litigation. For the foregoing

reasons, the PTAB no longer discretionarily denies petitions based on applying Fintiv to a

parallel ITC proceeding. This memorandum memorializes that practice. The PTAB will not

discretionarily deny petitions based on applying Fintiv to a parallel ITC proceeding.



        Solera Stipulations

        Fintiv factor four looks at the overlap between the issues raised in the IPR petition and in

the parallel proceeding in order to evaluate "concerns of inefficiency and the possibility of

conflicting decisions." Fintiv, Paper 11 at 12. If the petition includes the same or substantially

the same claims, grounds, arguments, and evidence as presented in the parallel proceeding, this

fact has favored denial. Id. at 12. Conversely, if the petition includes materially different

grounds, arguments, and/or evidence than those presented in the district court, this fact has

tended to weigh against exercising discretion to deny institution. Id. at 12- 13.

       When a petitioner stipulates not to pursue in a parallel district comt proceeding the same

grounds as in the petition or any grounds that could have reasonably been raised in the petition, it

mitigates concerns of potentially conflicting decisions and duplicative efforts between the district

comt and the PTAB. See Sotera, Paper 12 at 18- 19. With such a stipulation, if an IPR or PGR

is instituted, the grounds the PTAB resolves will differ from those present in the parallel district

comt litigation. For these reasons, the PTAB will not discretionarily deny institution of an IPR

or PGR in view of parallel district court litigation where a petitioner stipulates not to pursue in a

parallel district comt proceeding the same grounds as in the petition or any grounds that could

have reasonably been raised in the petition. This clarification avoids inconsistent outcomes




                                                  7
                                              Appx031
                Case: 25-132         Document: 2       Page: 64      Filed: 06/16/2025




between the PTAB and the district comt and allows the PTAB to review grounds that the parallel

district court litigation will not resolve.



        Trial Date

        Fintiv factor two considers the proximity of the comt's trial date to the Board's projected

statutory deadline for a final written decision. When applying this factor, the PTAB has taken

the "comts' trial schedules at face value absent some strong evidence to the contrary." 10 Thus,

the PTAB has generally weighed this factor in favor of exercising discretion to deny institution if

the trial date is scheduled before the projected statutory deadline for a final written decision.

        In response to the RFC, a number of commenters expressed concern with the use of trial

dates as a factor. 11 Stakeholders correctly noted that scheduled trial dates are umeliable and

often change. A court's scheduled trial date, therefore, is not by itself a good indicator of

whether the district court trial will occur before the statutory deadline for a final written decision.

       Accordingly, when analyzing the proximity of the comt's trial date under factor two of

Fintiv, when other relevant factors weigh against exercising discretion to deny institution or are

neutral, the proximity to trial should not alone outweigh all of those other factors. See In re

Genentech, Inc., 566 F.3d 1338, 1347 (Fed Cir. 2009). Parties may present evidence regarding

the most recent statistics on median time-to-trial for civil actions in the district comt in which the




10
   Apple Inc. v. Fintiv, Inc., IPR2020-00019, Paper 15 at 13 (May 13, 2020) (informative)
(applying the Fintiv factors articulated in the precedential Fintiv decision).
11
   See USPTO Executive Summcny ofPublic Views on Discretiona,y Institution ofAJA
Proceedings (Jan. 2021) (available at https://www.uspto.gov/sites/default/files/documents/
USPTOExecutiveSummaryofPublicViewsonDiscretionarylnstitutiononAIAProceedingsJanuary2
021.pdt).


                                                  8
                                               Appx032
               Case: 25-132        Document: 2        Page: 65      Filed: 06/16/2025




parallel litigation resides 12 for the PTAB's consideration. Where the parties rely on time-to-trial

statistics, the PTAB will also consider additional supporting factors such as the number of cases

before the judge in the parallel litigation and the speed and availability of other case dispositions.

See id; In re Google LLC, No. 2021-178, 2021 WL 5292267 at *3 (Fed. Cir. 2021).

                                             Conclusion

In summary, the PTAB will not deny institution of an IPR or PGR under Fintiv (i) when a

petition presents compelling evidence of unpatentability; (ii) when a request for denial under

Fintiv is based on a parallel ITC proceeding; or (iii) where a petitioner stipulates not to pursue in

a parallel district comt proceeding the same grounds as in the petition or any grounds that could

have reasonably been raised in the petition. Additionally, when the PTAB is applying Fintiv

factor two, the PTAB will consider the speed with which the district comt case may come to trial

and be resolved. The PTAB will weigh this factor against exercising discretion to deny

institution under Fintiv if the median time-to-trial is around the same time or after the projected

statutory deadline for the PTAB's final written decision. That said, even if the PTAB does not

deny institution under Fintiv, it retains the right to deny institution for other reasons under 35

U.S.C. §§ 314(a), 324(a), and 325(d). For example, the PTAB may deny institution if other

pertinent circumstances are present, such as abuse of process by a petitioner.

       This interim guidance applies to all proceedings pending before the Office. This interim

guidance will remain in place until fmther notice. The Office expects to replace this interim

guidance with rules after it has completed formal rulemaking.




12
  The most recent statistics are available at: https://www.uscourts.gov/statistics/table/na/federal-
court-management-statistics/2022/03/31-1.

                                                  9
                                              Appx033
6/6/25, 2:11 PM         Director Case:     25-132
                                 Vidal provides             Document:
                                                clarity to Patent             2 Board
                                                                  Trial and Appeal Page:   66on discretionary
                                                                                      practice    Filed: 06/16/2025
                                                                                                              denials of patent challenges based on parall…

         An official website of the United States government
         Here’s how you know keyboard_arrow_down




        Home > About Us > News & Updates
         > Director Vidal provides clarity to Patent Trial and Appeal Board practice on
         discretionary denials of patent challenges based on parallel litigation




        Director Vidal provides clarity to Patent Trial
        and Appeal Board practice on discretionary
        denials of patent challenges based on parallel
        litigation
        June 22, 2022           Press Release: 22-14
                                                                                                              CONTACT: (Media Only)
                                                                                                              Paul Fucito or Mandy Kraft
        WASHINGTON – The Under Secretary of Commerce for Intellectual
                                                                                                              (571) 272-8400 or
        Property and Director of the United States Patent and Trademark
                                                                                                              paul.fucito@uspto.gov or
        Office (USPTO), Kathi Vidal, released a memorandum on the “Interim
                                                                                                              mandy.kraft@uspto.gov
        Procedure for Discretionary Denials in AIA Post-Grant Proceedings
        with Parallel District Court Litigation” (“guidance memo”) that clarifies
        the Patent Trial and Appeal Board (PTAB) practice.

        As outlined in the guidance memo, to benefit the patent system and the public good, the PTAB will not
        deny institution of an IPR or PGR under Fintiv (i) when a petition presents compelling evidence of
        unpatentability; (ii) when a request for denial under Fintiv is based on a parallel ITC proceeding; or
        (iii) where a petitioner stipulates not to pursue in a parallel district court proceeding the same grounds as
        in the petition or any grounds that could have reasonably been raised in the petition. Additionally, when
        the PTAB is applying Fintiv factor two, the PTAB will consider the speed with which the district court case
        may come to trial and be resolved. The PTAB will weigh this factor against exercising discretion to deny
        institution under Fintiv if the median time-to-trial is around the same time or after the projected statutory
        deadline for the PTAB’s final written decision. That said, even if the PTAB does not deny institution under
        Fintiv, it retains the right to deny institution for other reasons under 35 U.S.C. §§ 314(a), 324(a), and 325(d).
        For example, the PTAB may deny institution if other pertinent circumstances are present, such as abuse of
        process by a petitioner.

        “The Patent Trial and Appeal Board serves an important role in strengthening the patent system in
        America,” said USPTO Director Vidal. “The USPTO is committed to providing clarity and transparency
        around all our processes, especially in PTAB’s practice of discretionary denials. It is critical that we all play
                                                                                                                                    Back to top



                                                                        Appx034
https://www.uspto.gov/about-us/news-updates/director-vidal-provides-clarity-patent-trial-and-appeal-board-practice                                      1/3
6/6/25, 2:11 PM         Director Case:     25-132
                                 Vidal provides             Document:
                                                clarity to Patent             2 Board
                                                                  Trial and Appeal Page:   67on discretionary
                                                                                      practice    Filed: 06/16/2025
                                                                                                              denials of patent challenges based on parall…

        a role in ensuring that our patent system serves the public good the way it was intended. I look forward to
        hearing more from our stakeholders on these issues.”

        The USPTO today also released a study (executive summary here and appendix here) on the impact of
        PTAB denials of AIA petitions when there is a parallel district court proceeding addressing the same
        patent. The PTAB Parallel Litigation Study, which explores “Fintiv denials” based on the Fintiv precedential
        decision, covers a time period from the second quarter of fiscal year 2019—when the first PTAB
        precedential decision (NHK) on this issue was designated—through the first quarter of fiscal year 2022.
        The study offers authoritative data that reveals a sharp overall decline in Fintiv denials. It also reveals only
        three instances of Fintiv denials in pharmaceutical patent challenges.

        “Authoritative data helps inform and advance the conversation around the impact of PTAB discretionary
        denials by offering key insights and trends,” continued Director Vidal. “The work in this area is centered
        around our mission to issue and maintain robust and reliable patents, while advancing the goals of the
        America Invents Act.”

        The study found that:

              After Fintiv was designated precedential, parallel litigation was raised in about 40% of all cases.
              Fintiv denials peaked in the second quarter of fiscal year 2021 and dropped significantly afterward.
              The PTAB had issued no Fintiv denials based on parallel litigation in the Western District of Texas
              since August 2021.
              The USPTO’s guidance on using stipulations appears to have led to an increase in stipulation filings
              and a significant decrease in Fintiv.
              The PTAB has denied institution based on Fintiv of only three total AIA petitions challenging drug
              patents: two Orange Book-listed patents and one biologic drug patent.

        The PTAB plans to discuss the results of the study in further detail at an upcoming Boardside Chat.

        The Director’s guidance memo provides interim guidance while the USPTO prepares to engage in
        rulemaking on proposed approaches. The guidance memo is available on the PTAB’s resources and
        guidance page , and the results of the study, along with the executive summary and appendix, are
        available on the PTAB’s statistics page  under “Special reports.”

        Stay current with the USPTO by subscribing to receive email updates through our Subscription Center.




      More Press Releases




                           Was this page helpful?


                           share Share this page print Print this page                                                              Back to top



                                                                        Appx035
https://www.uspto.gov/about-us/news-updates/director-vidal-provides-clarity-patent-trial-and-appeal-board-practice                                      2/3
6/6/25, 2:11 PM         Director Case:     25-132
                                 Vidal provides             Document:
                                                clarity to Patent             2 Board
                                                                  Trial and Appeal Page:   68on discretionary
                                                                                      practice    Filed: 06/16/2025
                                                                                                              denials of patent challenges based on parall…

                           Additional information about this page




                           Receive updates from the USPTO
                           Enter your email to subscribe or update your preferences

                             your@email.com                                                                      Subscribe

                           About the USPTO • Search for patents • Search for trademarks


                              US Department of Commerce
                              Accessibility
                              Privacy Policy
                              Terms of Use
                              Financial and Performance Data
                              Vulnerability Disclosure Policy
                              Freedom of Information Act
                              Inspector General
                              NoFEAR Act
                              USA.gov




                                                                        Follow us




                                                                                                                                    Back to top



                                                                        Appx036
https://www.uspto.gov/about-us/news-updates/director-vidal-provides-clarity-patent-trial-and-appeal-board-practice                                      3/3
          Case: 25-132   Document: 2   Page: 69   Filed: 06/16/2025




Appx037
                             Case: 25-132   Document: 2   Page: 70   Filed: 06/16/2025




          Patent Trial and Appeal Board
          Boardside Chat:
          Discretionary denials in AIA post-grant
          proceedings with parallel litigation




Appx038
          Michael Tierney, Acting Deputy Chief Judge, Patent Trial and Appeal Board
          Michael Kim, Vice Chief Judge, Patent Trial and Appeal Board
          Justin Busch, Administrative Patent Judge, Patent Trial and Appeal Board

          July 7, 2022
                      Case: 25-132   Document: 2   Page: 71   Filed: 06/16/2025


          Question/comment submission

          • To send in questions or comments during
            the webinar, please email:
              – PTABBoardsideChat@uspto.gov




Appx039
          3
                       Case: 25-132   Document: 2   Page: 72   Filed: 06/16/2025


          Agenda
          • Interim procedure for discretionary denials in AIA
            proceedings with parallel district court litigation




Appx040
          • PTAB’s parallel litigation study on discretionary
            denials in AIA trials with parallel litigation for
            2019-2022


          4
                         Case: 25-132   Document: 2   Page: 73   Filed: 06/16/2025




          Michael Tierney




Appx041
          Acting Deputy Chief Judge
          Patent Trial and Appeal Board

          Interim procedure for discretionary
          denials in AIA proceedings with parallel
          district court litigation
                             Case: 25-132   Document: 2   Page: 74   Filed: 06/16/2025


          Parallel litigation: key cases
          • The Office designated NHK as precedential on May 7, 2019
              – NHK Spring Co., Ltd. v. Intri-Plex Techs., Inc., IPR2018-00752, Paper 8 (Sept.
                12, 2018)
              – Denying institution because (1) the prior art was previously considered and




Appx042
                (2) co-pending district court proceeding was nearing completion
          • Following NHK, the Office designated Fintiv as precedential
            on May 5, 2020
              – Apple Inc. v. Fintiv, Inc., IPR2020-00019, Paper 11 (PTAB March 20, 2020)
              – Setting forth six factors to consider in cases involving a parallel proceeding


          6
                             Case: 25-132   Document: 2   Page: 75   Filed: 06/16/2025


          The Office’s Request for Comments

          •   The Office issued a Request for Comments (RFC) on the PTAB’s
              current approaches in October 2020
              – Discretion to Institute Trials Before the Patent Trial and Appeal Board, 85 FR
                66502 (October 20, 2020)
              – https://www.uspto.gov/sites/default/files/documents/85_fr_66502_20201020.




Appx043
                pdf


          •   The Office received 822 comments from stakeholders and published
              a summary of the comments in January 2021
              – https://www.uspto.gov/patents/ptab/comments-proposed-rules-discretion


          7
                             Case: 25-132   Document: 2   Page: 76   Filed: 06/16/2025


          Interim guidance for denials under Fintiv

          •   Director Vidal issued interim guidance on June 21, 2022
              – https://www.uspto.gov/sites/default/files/documents/interim_proc_discretion
                ary_denials_aia_parallel_district_court_litigation_memo_20220621_.pdf

          •   The interim guidance:




Appx044
              – is based on the comments received from stakeholders, including individuals
              – reflects the Director ’s consideration of feedback received from all forums,
                e.g., Congress, academics, small and individual inventors
              – solidifies and provides further clarifications regarding current practices
              – makes clear how some of the factors will be applied so that parties have
                certainty and avoid wasting resources

          8
                              Case: 25-132    Document: 2   Page: 77   Filed: 06/16/2025


          Interim guidance for denials under
          Fintiv
          •   The interim guidance addresses:
              – Applicability of Fintiv factors 1-6 to ITC proceedings
              – Fintiv factor 4: Sotera stipulation
              – Fintiv factor 6: compelling merits




Appx045
              – Fintiv factor 2: trial date

          •   The interim guidance became effective on June 21, 2022 and applies
              to all proceedings pending before the Office

          •   The Office is exploring potential rulemaking on proposed
              approaches through an Advanced Notice of Proposed Rulemaking

          9
                           Case: 25-132   Document: 2   Page: 78   Filed: 06/16/2025


          Fintiv factors
          1.   whether the court granted a stay or evidence exists that one may
               be granted if a proceeding is instituted;
          2. proximity of the court’s trial date to the Board's projected
             statutory deadline for a final written decision;
          3.   investment in the parallel proceeding by the court and the parties;




Appx046
          4. overlap between issues raised in the petition and in the parallel
             proceeding;
          5.   whether the petitioner and the defendant in the parallel proceeding
               are the same party; and
          6. other circumstances that impact the Board's exercise of
             discretion, including the merits.
          10
                                  Case: 25-132   Document: 2   Page: 79   Filed: 06/16/2025


          Applicability of Fintiv to ITC proceedings
          •    The PTAB will no longer discretionarily deny petitions based on
               applying Fintiv to a parallel U.S. International Trade Commission (ITC)
               proceeding

          •    Reasons:
                – Each of the Fintiv factors is directed to district court litigation, not to ITC proceedings




Appx047
                – The ITC lacks authority to invalidate a patent and its invalidity rulings are not binding
                  on either the Office or a district court
                – An ITC determination cannot conclusively resolve an assertion of patent invalidity
                – Denying institution because of a parallel ITC investigation does not minimize potential
                  conflicts between PTAB proceedings and district court litigation



          11
                               Case: 25-132   Document: 2   Page: 80   Filed: 06/16/2025


          Sotera stipulation (Fintiv factor 4)
          •    PTAB will not discretionarily deny institution of an IPR or PGR where
               there is a stipulation not to pursue in a parallel district court
               proceeding the same grounds as in the petition or any grounds that
               could have reasonably been raised in the petition
                – Sotera Wireless, Inc. v. Masimo Corp., IPR2020-01019, Paper 12 (PTAB Dec. 1,




Appx048
                  2020)

          •    Reasons:
                – Mitigates concerns of potentially conflicting decisions and duplicative efforts
                  between the district court and the PTAB
                – The grounds before the PTAB will differ from those in the district court and
                  will not be resolved in the district court litigation

          12
                                Case: 25-132   Document: 2   Page: 81   Filed: 06/16/2025


          Compelling merits (Fintiv factor 6)

          •    Compelling meritorious challenges will be allowed to proceed at the
               PTAB, even where district court litigation is proceeding in parallel


          •    Compelling merits:




Appx049
               – Challenges in which the evidence, if unrebutted in trial, would plainly lead to a
                 conclusion that one or more claims are unpatentable by a preponderance of the
                 evidence
               – The compelling evidence test affirms the PTAB's current approach of declining to deny
                 institution under Fintiv where the evidence of record so far in the case would plainly
                 lead to a conclusion that one or more claims are unpatentable.
               – More demanding than the “reasonable likelihood” and the “more likely than not”
                 standards for institution of an IPR or PGR, respectively. See 35 U.S.C. §§ 314(a), 324(a)
          13
                                Case: 25-132   Document: 2   Page: 82   Filed: 06/16/2025


          Compelling merits (Fintiv factor 6)
          •    Reasons:
               – Consistent with PTAB’s current approach on institution in view of strong evidence on
                 the merits even when other factors weigh in favor of discretionary denial
               – Need to balance competing concerns of avoiding potentially conflicting outcomes
                 and overburdening patent owners with strengthening the patent system by
                 eliminating weak patents




Appx050
               – Consistent with the authority given by Congress to revisit issued patents
               – PTAB proceeding continues even when the parallel proceeding settles or fails to
                 resolve the patentability question
               – The patent system and the public good benefit from instituting compelling
                 unpatentability challenges

          •    PTAB may still deny institution for proceedings where abuse has
               been demonstrated
          14
                              Case: 25-132   Document: 2   Page: 83   Filed: 06/16/2025


          Trial date (Fintiv Factor 2)
          • The proximity to trial will not alone outweigh all of the other
            Fintiv factors
          • Reason: Scheduled trial dates are unreliable and often change
          • PTAB will look to the most recent statistics on median




Appx051
            time-to-trial for civil actions in the relevant district court
               – https://www.uscourts.gov/statistics/table/na/federal-court-management-
                 statistics/2022/03/31-1
          • PTAB will also consider:
               – The number of cases before the judge in the parallel litigation
               – The speed to trial of other cases before the judge
          15
                               Case: 25-132   Document: 2   Page: 84   Filed: 06/16/2025


          Summary of interim guidance
          •    PTAB will not deny institution of an IPR or PGR under Fintiv when
                – A request for denial under Fintiv is based on a parallel ITC proceeding
                – A petitioner stipulates not to pursue in a parallel district court proceeding
                  the same grounds as in the petition or any grounds that could have
                  reasonably been raised in the petition




Appx052
                – A petition presents compelling evidence of unpatentability
          •    PTAB will consider the speed with which the district court case may
               come to trial based on recent time-to-trial statistics and other
               evidence
          •    PTAB may deny institution for other reasons under §§ 314(a), 324(a),
               and 325(d).
          16
                       Case: 25-132   Document: 2   Page: 85   Filed: 06/16/2025


          Question/comment submission

          • To send in questions or comments during
            the webinar, please email:
               – PTABBoardsideChat@uspto.gov




Appx053
          17
                            Case: 25-132   Document: 2   Page: 86   Filed: 06/16/2025


          LEAP
          • Legal Experience and Advancement Program (LEAP)
          • Designed to:
               – Aid in development of the next generation of patent practitioners




Appx054
               – Encourage a diverse group of advocates to develop their skills before
                 the PTAB
          • To qualify, a patent agent or attorney must have:
               – Three or fewer substantive oral arguments in any federal
                 tribunal, including PTAB


          18
                          Case: 25-132   Document: 2   Page: 87   Filed: 06/16/2025




          Michael Kim, Vice Chief Judge




Appx055
          Justin Busch, Administrative Patent Judge
          Patent Trial and Appeal Board

          PTAB Parallel Litigation Study
          (Data from Jan. 1, 2019 through Dec. 31, 2021)
                      Case: 25-132   Document: 2   Page: 88   Filed: 06/16/2025


          Parallel litigation: overview
          • Parallel litigation: a scenario in which petitioner,
            patent owner, and the patent at issue are
            simultaneously engaged in a PTAB proceeding




Appx056
            and litigation in another venue.
          • The vast majority of petitioners (about 80% or
            higher) have been sued by patent owners in
            another venue prior to filing their petitions.

          20
                                  Case: 25-132       Document: 2    Page: 89     Filed: 06/16/2025


          Parallel litigation: key cases


               Fiscal Year            Fiscal Year                              Fiscal Year
                  2019       5/7/19      2020       5/5/20 7/13/20                2021       12/17/20




Appx057
                       NHK                  Fintiv                 Sand Revolution Sotera Wireless
                       designated           designated             designated      designated
                       precedential         precedential           informative     precedential




          21
                            Case: 25-132   Document: 2   Page: 90   Filed: 06/16/2025


          Parallel litigation: methodology
          •    All Decisions on Institution (DIs) and patent owner preliminary
               responses (POPRs) in each inter partes review (IPR), covered business
               method review (CBM), and post grant review (PGR) in the indicated
               time periods during Fiscal Years 2019 through 2022 (FY19–22) were
               reviewed to capture information regarding the NHK/Fintiv issue.




Appx058
          •    The appendix (a separate document posted with this presentation)
               includes definitions and further methodology details.




          22
                         Case: 25-132   Document: 2   Page: 91   Filed: 06/16/2025


          Parallel litigation study: topics
          • Issue frequency
          • Outcomes
          • Stipulations
          • Venue




Appx059
          Link to study
               – https://www.uspto.gov/sites/default/files/documents/
                 ptab_parallel_litigation_study_20220621_.pdf

          23
                Case: 25-132   Document: 2   Page: 92   Filed: 06/16/2025




Appx060
          NHK/Fintiv issue frequency
                        Case: 25-132   Document: 2   Page: 93   Filed: 06/16/2025


          NHK/Fintiv issue frequency: summary

          • After NHK was designated precedential (FY19
            Q2):
                NHK was raised in about 10-15% of cases.




Appx061
          • After Fintiv was designated precedential (FY20
            Q3):
                NHK/Fintiv was raised in about 40% of cases.


          25
                                                  Case: 25-132        Document: 2   Page: 94      Filed: 06/16/2025


            NHK/Fintiv issue frequency
            (FY19 Q2 to FY22 Q1: Jan. 1, 2019 to Dec. 31, 2021)
                                                                                           49.0%            50.6%
                      NHK
                  precedential                         Fintiv                                       41.4%               After Fintiv was
                                                                      39.5% 38.4% 39.3%
                    FY19 Q2                         Precedential                                                          designated
                                                      FY20 Q3
                                                            24.7%                   ~40%
                                                                                                                         precedential,
                                        23.9%
                                                                                            188                        parallel litigation
          % of cases                                                                174                      171
                              13.8%                 14.8%
            10.0% 9.6%
                                                                                                                      was raised in about
                                                                       133                           137
                                                                             126                                       40% of all cases,
                                 ~10-15%




Appx062
                                                                                                                         regardless of
                                                                 78                                                   whether ultimately
          # of cases                       69
                                 53                  55
                 42    38
                                                                                                                         there was an
                                                                                                                          institution.

             Qtr2
                 I I III
                       Qtr3      Qtr4      Qtr1     Qtr2     Qtr3     Qtr4   Qtr1   Qtr2   Qtr3     Qtr4    Qtr1

                       2019                               2020                         2021                 2022
            In this graphic, the bars show the number of cases where NHK/Fintiv was raised, and
            the line shows the percent of all cases in which NHK/Fintiv was raised.
            26
               Case: 25-132   Document: 2   Page: 95   Filed: 06/16/2025




Appx063
          NHK/Fintiv outcomes
                      Case: 25-132   Document: 2   Page: 96   Filed: 06/16/2025


          NHK/Fintiv outcomes: summary
          DIs denying institution (at least in part)
          because of NHK/Fintiv:
          • Were about 1% of all outcomes in FY19 Q2 to
            Q4.




Appx064
          • Were about 4% of all outcomes in FY20.
          • Peaked at about 11% of all outcomes in a
            quarter in FY21 Q1 and Q2.
          • Fell to about 2% of all outcomes in a quarter by
            FY22 Q1.
          28
                                               Case: 25-132              Document: 2          Page: 97        Filed: 06/16/2025


           NHK/Fintiv outcomes                                                                                                   85
                                                                                                    79        79
           (FY19 Q2 to FY22 Q1: Jan. 1, 2019 to Dec. 31, 2021)

                                                       Fintiv
                                                                                                                                      NHK/Fintiv
                                                    Precedential                                                                         denials
                                                      FY20 Q3                            54
              NHK                                                                                                       49
                                                                               48              47
          Precedential                                                                                                                 peaked in
            FY19 Q2
                                               36                   38              36                                                  FY21 Q2
                             31
                                                          26              25
                                                                                                                                          and




Appx065
                    19                                                                                   21
                                      17                       18                                                  17                   dropped
                                                     11
                4                                                                                                            6        significantly
                         2        3        3
                                                                                                                                      afterwards.
                Qtr2     Qtr3     Qtr4     Qtr1      Qtr2      Qtr3       Qtr4      Qtr1       Qtr2      Qtr3      Qtr4      Qtr1

                         2019                             2020                                       2021                    2022
            This graphic shows the outcomes of DIs that analyze NHK/Fintiv; specifically, the
            number of NHK/Fintiv denials (orange) versus the number of NHK/Fintiv
            institutions (light blue).
           29
                                        Case: 25-132    Document: 2                  Page: 98           Filed: 06/16/2025


           NHK/Fintiv outcomes                                                                             Fintiv
           (FY19 Q2 to FY22 Q1: Jan. 1, 2019 to Dec. 31, 2021)                                         Precedential
                                                                                    ··••••••   ···••••••• Q3 FY20
         NHK                                               ·••••• ··•••••• ·•••••
     Precedential
       Q2 FY19

                                                                                                                                         Most cases
                                                                              72.6% 71.6% 74.0%                                73.1%
                                                       82.3% 78.3%                                                    80.1%               do not
                                        86.5% 90.0%
                   94.5% 91.7% 94.8%
                                                                                                                                          address




Appx066
                                                                                                                                         NHK/Fintiv.
            ~28%
                                                                                     16.5% 17.8% 20.6%                           25.1%
                                                                     14.2%                                              14.8%
                                                          12.0%
                    4.5% 7.8% 4.4% 12.5% 7.0%
                1.0% 0.5% 0.8% 1.0% 3.0% 5.7%                 7.4% 11.0% 10.6%                          5.5%     5.1%         1.8%
                   Qtr2   Qtr3   Qtr4    Qtr1   Qtr2   Qtr3       Qtr4          Qtr1             Qtr2     Qtr3        Qtr4      Qtr1

                          2019                     2020                                               2021                     2022
          This graphic shows the percentage of cases that are NHK/Fintiv denials (orange) and
          NHK/Fintiv institutions (light blue) versus all other DIs and pre-DI terminations (gray).
           30
                       Case: 25-132   Document: 2   Page: 99   Filed: 06/16/2025


          Question/comment submission

          • To send in questions or comments during
            the webinar, please email:
               – PTABBoardsideChat@uspto.gov




Appx067
          31
                 Case: 25-132   Document: 2   Page: 100   Filed: 06/16/2025




Appx068
          Stipulations in an NHK/Fintiv
          analysis
                          Case: 25-132   Document: 2   Page: 101   Filed: 06/16/2025


          NHK/Fintiv stipulations: summary

          • After Sand was designated informative in FY20
            Q4:
                The number of stipulations filed increased.




Appx069
          • After Sotera was designated precedential in FY21
            Q1:
                The number of stipulations filed increased further.
                DIs analyzing NHK/Fintiv and noting a stipulation
                 frequently resulted in avoiding an NHK/Fintiv denial.
          33
                                  Case: 25-132   Document: 2     Page: 102    Filed: 06/16/2025


                                                                                  Sotera
           NHK/Fintiv stipulations
           Outcomes for DIs in which stipulations are noted                    Precedential
           (FY20 Q3 to FY22 Q1: Apr. 1, 2020 to Dec. 31, 2021)                   Q1 FY21
          Sand
      Informative                                                                                  Most DIs
        Q4 FY20
                                                                                                   noting a
                                        62.2%       61.3%                                         stipulation
                              72.2%
                                                                 83.1%       80.4%
                    100.0%                                                              97.1%       did not




Appx070
                                                                                                  deny based
                                        37.8%      38.7%
                                                                                                      on
                              27.8%
                                                                 16.9%       19.6%                NHK/Fintiv.
                    0.0%                                                                 2.9%
                    Qtr3      Qtr4        Qtr1      Qtr2         Qtr3        Qtr4        Qtr1

                          2020                             2021                     2022
          This graphic depicts the percentage of DIs analyzing NHK/Fintiv and noting a stipulation
          in which trial was instituted (light blue) or denied (orange).
           34
                                            Case: 25-132    Document: 2     Page: 103    Filed: 06/16/2025


            NHK/Fintiv stipulations:
            Outcomes for DIs in which stipulations are noted
            (FY20 Q3 to FY22 Q1: Apr. 1, 2020 to Dec. 31, 2021)
                                                                                                66              After Sotera,
                                                                                                             stipulation filings
                                           Sotera
                                        Precedential                   49                                         increased;
                                                            46                      45
                                          Q1 FY21
                       Sand
                                                                                                              by Q3 of FY21,
                   Informative                                                                                  DIs noting a
                     Q4 FY20                    28     29
                                                                                                               stipulation did




Appx071
                                           17
                                   13                                          11                              not frequently
                                                                 10
                               5                                                                              deny institution
                    1                                                                       2
                                                                                                                   based on
                 Qtr3          Qtr4         Qtr1       Qtr2          Qtr3       Qtr4         Qtr1                NHK/Fintiv.
                        2020                                  2021                          2022

          This graphic depicts the number of DIs analyzing NHK/Fintiv and noting a stipulation in
          which trial was instituted (light blue) or denied (orange).
            35
                 Case: 25-132   Document: 2   Page: 104   Filed: 06/16/2025




Appx072
          NHK/Fintiv parallel litigation
          venues
                       Case: 25-132   Document: 2   Page: 105   Filed: 06/16/2025


          NHK/Fintiv parallel litigation venues:
          summary
          • In about 60% of NHK/Fintiv analyses in the studied
            quarters for FY19 to FY22, in which a parallel
            litigation venue was identified, the identified district
            court was one of the Western District of Texas, the




Appx073
            Eastern District of Texas, and the District of Delaware.
          • In FY21, the Western District of Texas was the venue
            identified as the most frequently discussed in DIs
            analyzing NHK/Fintiv.
          • In FY21, the Eastern District of Texas is the venue
            with the most NHK/Fintiv denials.
          37
                                  Case: 25-132   Document: 2   Page: 106   Filed: 06/16/2025


          NHK/Fintiv parallel litigation venues
          (FY19 Q2 to FY22 Q1: Jan. 1, 2019 to Dec. 31, 2021)
                                     56
          E.D. Tex.                                            W.D. Tex.                            99
                                                                  In FY21, the W.D. Texas
                                                                    was the venue most
                                                                frequently discussed in DIs
                                          31                    analyzing NHK/Fintiv, and
                       27
                                                                   petitions were denied
                                                                                                            44




Appx074
                            19                                    based on NHK/Fintiv in
                                                                about 15% of these cases.
                  10                                                                           16
                                                        6                     13
                                                                                    7
                                                                      1

               2019      2020         2021
                                                      •
                                                   2022          2019          2020
                                                                                   -            2021     2022
          This graphic depicts the number of DIs analyzing NHK/Fintiv involving the Eastern
          District of Texas (left) and the Western District of Texas (right), in which trial was
          instituted (light blue) or denied (orange).
          38
                                 Case: 25-132   Document: 2   Page: 107   Filed: 06/16/2025


          NHK/Fintiv parallel litigation venues
          (FY19 Q2 to FY22 Q1: Jan. 1, 2019 to Dec. 31, 2021)

                                                                                                   73
          D. Del.                        51                    All other           69
                                                               venues
                            37


                                                                     31




Appx075
                                                                                              27               27

                   8    6            6                 7
                                                                6             7                          6
               1
                                                              1111                                      1111
               2019
                       • •
                         2020         2021         2022          2019
                                                                            -  2020            2021      2022
          This graphic depicts the number of DIs analyzing NHK/Fintiv involving the District of
          Delaware (left) and all other venues (right), in which trial was instituted (light
          blue) or denied (orange).
          39
                                 Case: 25-132   Document: 2   Page: 108   Filed: 06/16/2025


          Parallel litigation: summary
          •    After Fintiv was designated precedential, discretionary denial based
               on parallel litigation has been raised in about half of all cases in
               which petitioner was sued by patent owners in another venue
          •    The number of cases denying institution dropped significantly after
               peaking during the first half of fiscal year 2021
          •    Stipulation filings increased after Sotera was designated precedential,




Appx076
               and DIs noting stipulations frequently avoid denials based on
               NHK/Fintiv
          •    The majority of cases involving an NHK/Fintiv issue involved co-
               pending litigation in one of the Western District of Texas, the Eastern
               District of Texas, and the District of Delaware
                – The Western District of Texas was the venue most frequently discussed in DIs
                  analyzing NHK/Fintiv, and, during the study period, no corresponding
          40
                  petitions were denied based on NHK/Fintiv since August 2021
                       Case: 25-132   Document: 2   Page: 109   Filed: 06/16/2025


          Question/comment submission

          • To send in questions or comments during
            the webinar, please email:
               – PTABBoardsideChat@uspto.gov




Appx077
          41
                             Case: 25-132   Document: 2   Page: 110   Filed: 06/16/2025


          Next Boardside Chat
          • July 14, 2022, at 12-1 pm ET
          • Topic: PTAB Law Clerk Program
               – Learn about Patent Attorney (Law Clerk) opportunities at PTAB
               – Hear from current and former PTAB law clerks and practitioners




Appx078
               – Applications open soon for one year term starting October 2023
               – Information about the application timeline and requirements

          • Register for and learn about upcoming Boardside Chats, and
            access past Boardside Chats at:
               https://www.uspto.gov/patents/ptab/ptab-boardside-chats

          42
          Case: 25-132   Document: 2   Page: 111   Filed: 06/16/2025




Appx079
                                  Case: 25-132                   Document: 2                    Page: 112              Filed: 06/16/2025




From:                                               Roy Chamcharas
Sent:                                               Tuesday, January 14, 2025 4:32 PM
To:                                                 Hannah, James; Fuller, Jenna; Kastens, Kris; Price, Jeffrey H.; Keller, Charles;
                                                    svdocketing@kramerlevin.com
Cc:                                                 Andrew M. Mason; Todd M. Siegel; Samuel Thacker; Shelby A. Stepper;
                                                    SAP_Cyandia_IPRs
Subject:                                            SAP AMERICA, INC. v. CYANDIA, INC. - IPR2024-01432, -01433, -01495, and -01496 -
                                                    Sotera-type stipulation


Counsel,

SAP stipulates that, should IPR be instituted in IPR2024-01432, 2024-01433, 2024-01495, or 2024-01496, SAP will
not pursue in the E.D. Tex. district court litigation any ground of unpatentability that is raised or reasonably could
have been raised in any instituted IPR.

Thank you,

Roy


                                         Roy Chamcharas | Partner
                                         Pronouns: He/him/his
                                         P. 503.595.5300 D. 503.473.0984 A. 121 SW Salmon St., Suite 1600, Portland, OR 97204 USA
       Patent Defenses | Celebrating 20 Years of Our Legal Research Tool for Patent Lawyers
The information contained in this e-mail is confidential and may be legally privileged. It is intended solely for the addressee. Access to this e-mail by anyone else is not
authorized. If you are not the intended recipient, any disclosure, copying, distribution, use, or any action you take or fail to take in reliance on it, is prohibited and may
be unlawful. Please immediately notify us by telephone (collect) or return e-mail, destroy the original message, and retain no copy - on your system or otherwise.




                                                                                                                              SAP EXHIBIT 1045
                                                                                                                         SAP America, Inc. v. Cyandia, Inc.
                                                                                            1                                   IPR2024-01495

                                                                                   Appx080
012ÿ4567589ÿ 581 2ÿÿ1Case:
                     2725-132
                                58122Document:
                                              721Page:
                                                                  
                                                                           Filed:
                                                                          113      5706/16/2025
                                                                                          2 5228 !2!"
    #$ÿ&'()*+,ÿ-./0*1.ÿ&'ÿ12.ÿ3$*1.4ÿ51+1.0ÿ6&7.8$9.$1
    :;<;=>ÿ@ABÿCADÿEFABÿG



  Á³ÂÃÄÿÅÆ³·ÇÿÈ¸ÄÿÉÃµ¸ÿÊÿÈËÌÍÇÃ¸ÄÿÈÎÏÐÑÿÒÃ¸ÓÔÕÌ¸ÿÂÃÂ³ÒÍÕÌ·ÂÿÍÌÌÒÃ¸¸ÔÕÖÿÌÔ̧ÓÒÃÇÔ³ÕÍÒ×ÿÌÃÕÔÍ´ÿËÒ³ÓÃÌ·ÒÃ¸


  HIJKLÿNOPQRSTPÿUOUVNWSTXUÿWTTNOPPRSYÿTRPQNOZRVSWN[
  TOSRW\ÿ]NVQOTXNOP
  ^./8_+8`ÿabcÿadae
  0 56fÿ12ÿghi0jÿ28 2 ÿ12ÿk 2ÿfÿfÿ!2!5 !ÿ2 l2 ÿmn2!ÿi82 2ÿoÿp82 56ÿp2 5lÿ ÿqnqÿir5 ÿi822 ÿ1
  i55ll2lÿp8ÿsÿt5 uÿv 2!5 !w
  i52ÿÿ5 ÿ822 ÿ1lÿ2o2ÿÿi52 ÿ05lÿ5 ÿq25lÿx5ÿvi0qxwÿ282 2 ÿoÿ 5 82fÿ 8l ÿyzz{;ÿ|F}~ÿ~ÿFÿ|F}~ÿ| 
  ÿz;<ÿÿyÿ<~ÿÿÿz<;};;F{ÿ5 ÿA;<ÿ<;{;>>ÿ|F}~ÿ~ÿ>AÿA<z~ÿ| ÿz;<ÿÿyÿ;}~ÿÿÿz<;};;F{
  >ÿAÿÿ||~y
  0ÿ12ÿ22 ÿ5 6ÿ12ÿi0qxÿÿp28ÿ22ÿ28 ÿ2l6ÿ ÿ12ÿ 2!5 !fÿ12ÿ ÿoÿ12ÿ28 ÿ2l6 ÿ ÿ12ÿ 2!5 !ÿ15llÿÿ72
  7 ÿÿ252ÿ ÿ12ÿi0qx



     ÿh152ÿ1ÿ52ÿÿÿÿÿÿi ÿ1ÿ52
     q  5lÿo!5 ÿÿ57ÿ1ÿ52

     OQOROÿX]TWZOPÿNVUÿZOÿHIJKL
     ¡ 2ÿ6ÿ2!5lÿÿ7872ÿÿ 52ÿ6ÿ2o22 82
      ¢£¤¥¦§¨©ª«¬­£¨                                                                                             ¹º»¼½¾¿»À
     q7ÿ12ÿghi0j ÿ®ÿh2581ÿoÿ52  ÿ®ÿh2581ÿoÿ5 2!59
     ghÿp25!2 ÿoÿs!!282
     q8827l6
     i586ÿil86
     02!ÿoÿg2
     ¯ 5 85lÿ5 ÿi2o!5 82ÿp55
     °l257l6ÿp8l2ÿil86
     ¯22 !ÿoÿno!5 ÿq8
     n28ÿr2 25l
     ±¯¡qÿq8
     ghq




                                                                       ²³´³́µÿ·¸
                                                                  ÿ      ÿ     ÿ      ÿ




                                                                    Appx081
               Case: 25-132      Document: 2          Page: 114        Filed: 06/16/2025




                        United States Patent and Trademark Office
                                                  Pate11t Trial and Appeal Board




                                     l\1EMORANDUM


To:          Members of the Patent Trial and Appeal Board
             ~/4_
From:        Scott R. Boalick, ~ i s t r a tive Patent Judge

Subject:     Guidance on USPTO's recission of"Interim Procedure for Discretionary
             Denials in AIA Post-Grant Proceedings with Parallel District Court
             Litigation"

Date:        March 24, 2025


        On February 28, 2025, the USPTO rescinded the June 21 , 2022 memorandum
entitled "Interim Procedure for Discretionary Denials in AIA Post-Grant Proceedings
with Parallel District Court Litigation" ("Interim Procedure"). The Interim Procedure
was intended to provide guidance while the USPTO explored potential rulemaking, but
the USPTO did not subsequently propose a final rule addressing the Director's and, by
delegation, the Patent Trial and Appeal Board's ("Board") exercise of discretionary
institution in an inter partes review ("IPR") or a post-grant review ("PGR") in view of
a parallel litigation. In the absence of rulemaking, the USPTO rescinded the Interim
Procedure to restore policy in this area to the guidance in place before the Interim
Procedure, including the Board's precedential decisions in Apple Inc. v. Fintiv, Inc.,
IPR2020-00019, Paper 11 (PTAB Mar. 20, 2020) ("Fintiv") and Sotera Wireless, Inc.
v. Masimo Corp., IPR2020-01019, Paper 12 (PTAB Dec. 1, 2020) ("Sotera"). This
memorandum sets forth additional guidance.




                           P.O. Box 1450, Alexandria, VA 22313-1450 • www.uspto.gov
                                              Appx082
             Case: 25-132        Document: 2         Page: 115     Filed: 06/16/2025




       First, the Interim Procedure's recission applies to any case in which the
Board has not issued an institution decision, or where a request for rehearing or
Director Review of an institution decision was filed and remains pending. The
Board will consider timely requests for additional briefing on the application of the
Interim Procedure's recission on a case-by-case basis. Absent extraordinary
circumstances, the Board will not revisit a decision on institution if the time for
seeking Director Review or rehearing has passed.
       Second, the Board will apply the Fintiv factors when there is a parallel
proceeding at the International Trade Commission ("ITC"). As the Fintiv decision
explains, although an ITC final invalidity determination does not have preclusive
effect, it is difficult as a practical matter to assert patent claims that the ITC has
determined are invalid. See Fintiv, Paper 11 at 8-9. Additionally, instituting an
IPR or a PGR where the ITC has set a target date for completing its investigation
(i.e., the full Commission's final determination) to occur earlier than the Board's
deadline to issue a final written decision in a challenge involving the same patent
claims means that multiple tribunals may be adjudicating validity at the same time,
which may increase duplication and expenses for the parties and the tribunals.
Thus, the Board is more likely to deny institution where the ITC's projected final
determination date is earlier than the Board's deadline to issue a final written
decision, and the Board is less likely to deny institution under Fintiv where the ITC
projected final determination date is after the Board's deadline to issue a final
written decision.
       Third, a timely-filed Sotera stipulation 1 (i.e., a stipulation from a petitioner
that, if an IPR or PGR is instituted, the petitioner will not pursue in district court


1
 See NXP USA, Inc. v. lmpinj, Inc., IPR2021-01556, Paper 13 (Sept. 7, 2022) (precedential)
(holding that the only appropriate time for a petitioner to offer a stipulation is prior to the
Board's decision on institution).
                                                 2


                                            Appx083
            Case: 25-132      Document: 2        Page: 116   Filed: 06/16/2025




(or in the ITC) any ground raised or that could have been reasonably raised in the
IPR/PGR) is highly relevant, but will not be dispositive by itself. Instead, the
Board will consider such a stipulation as part of its holistic analysis under Fintiv.
       Fourth, in applying Fintiv, the Board may consider any evidence that the
parties make of record that bears on the proximity of the district court's trial date
or the ITC's final determination target date, including median time-to-trial
statistics for civil actions in the district court in which the parallel litigation resides.
       Fifth, as stated in Fintiv, the factors considered in the exercise of discretion
are part of a balanced assessment of all the relevant circumstances in the case,
including the strength of the merits. However, compelling merits alone is not
dispositive in making the assessment.




                                             3


                                         Appx084
Case: 25-132   Document: 2        Page: 117   Filed: 06/16/2025




UNITED STATES PATENT AND TRADEMARK OFFICE

                  _________________

BEFORE THE PATENT TRIAL AND APPEAL BOARD

                  _________________

                 SAP AMERICA, INC.,
                      Petitioner,

                             v.
                   CYANDIA, INC.,
                    Patent Owner.
                    IPR2024-01495
                    Patent 8,578,285
                  _________________


PETITIONER’S REQUEST FOR DIRECTOR REVIEW




                       Appx085
              Case: 25-132            Document: 2          Page: 118         Filed: 06/16/2025

                                                                                              IPR2024-01495
                                                                                             Patent 8,578,285

                                      TABLE OF CONTENTS

                                                                                                              Page

I.      INTRODUCTION ...........................................................................................1
II.     LEGAL STANDARD .....................................................................................2
III.    PROCEDURAL BACKGROUND .................................................................3
IV.     ARGUMENT ...................................................................................................5
        A.       The Board’s Speculations Causing It To Dismiss
                 The Sotera Stipulation Were An Abuse Of Discretion .........................5
        B.       The Board’s Finding That Factor 4 Favors
                 Discretionary Denial Was An Abuse of Discretion ..............................7
        C.       The Director Should Resolve The Panel Split On This Issue .............10
        D.       That Most Challenged Claims Will Not Be Challenged In
                 District Court Favors Not Discretionarily Denying Institution ..........12
        E.       The Director Should Institute IPR Because
                 Factor 3 Favors And Factors 4 And 6
                 Strongly Favor Not Exercising Discretionary Denial .........................13
V.      CONCLUSION..............................................................................................14
CERTIFICATE OF SERVICE ................................................................................15




                                                                                                            Page i

                                                   Appx086
               Case: 25-132          Document: 2         Page: 119        Filed: 06/16/2025

                                                                                          IPR2024-01495
                                                                                         Patent 8,578,285

                                   TABLE OF AUTHORITIES
                                                                                                      Page(s)
Cases
Intelligent Bio-Sys., Inc. v. Illumina Cambridge Ltd.,
  821 F.3d 1359 (Fed. Cir. 2016) ..............................................................................3
Board Decisions
Apple Inc. v. Fintiv, Inc.,
 IPR2020-00019, Paper 11 (PTAB Mar. 20, 2020) .................................................4
Apple Inc. v. Seven Networks, LLC,
 IPR2020-00156, Paper 10 at 17 (PTAB June 15, 2020) ..................................2, 13
Dell, Inc. v. Universal Connectivity Tech. Inc.,
 IPR2024-01428, Paper 12 (PTAB April 7, 2025) ..................................... 1, 10, 11
Motorola Sol.’s, Inc. v. Stellar, LLC,
 IPR2024-01205 to -01208, Paper 19 at 4 (Mar. 28, 2025).....................................9
Samsung Electronics Co. v. Harbor Island Dynamic, LLC,
  IPR2024-01404, Paper No. 9 (PTAB April 4, 2025) .............................................8
Sotera Wireless, Inc. v. Masimo Corp.,
  IPR2020-01019, Paper 12 (PTAB Dec. 1, 2020) ...............................................4, 8
Other Authorities
USPTO, Director Review Process, § 2.B (last updated Mar. 18, 2025)....................2




                                                                                                      Page ii

                                                 Appx087
           Case: 25-132      Document: 2     Page: 120    Filed: 06/16/2025

                                                                       IPR2024-01495
                                                                      Patent 8,578,285

I.    INTRODUCTION

      The Office’s recent guidance on discretionary denials of IPR petitions has

spawned conflicting Board panel decisions on the same day. In quite similar fact

scenarios, each with a Sotera stipulation, one panel found the Sotera stipulation

caused Fintiv Factor 4 to strongly favor not discretionarily denying institution, Dell,

Inc. v. Universal Connectivity Tech. Inc., IPR2024-01428, Paper 12 at 8 (PTAB Apr.

8, 2025), while the panel here found that Factor 4 favors discretionarily denying

institution, Paper 13 (“Decision”) at 8–9. The Director should resolve the panel split

on this important issue of law and policy.

      A second reason to grant review is that the panel here abused its discretion.

Despite finding strong merits (Decision at 10–11) and minimal investment in the

district court action (id., 6–7), the Board discretionarily denied institution of inter

partes review of claims 1–10, 13, 17–18, and 36–42 of U.S. Patent No. 8,578,285

(EX1001, “’285 patent”). In finding Fintiv Factor 4 favored discretionary denial

despite Petitioner’s Sotera stipulation and despite most claims challenged by the

Petition no longer being at issue in the district court, the Board abused its discretion

in three ways.

      First, it speculated without basis in the record that Petitioner would seek to

assert in the district court the same publications asserted here. This speculation-

based dismissal of a Sotera stipulation lacks evidentiary support.


Petitioner’s Request For Director Review                                        Page 1

                                       Appx088
           Case: 25-132      Document: 2    Page: 121     Filed: 06/16/2025

                                                                      IPR2024-01495
                                                                     Patent 8,578,285

      Second, the Board deviated from the precedential decision of Sotera holding

that this type of stipulation strongly favors not exercising discretionary denial.

      Third, the Board erred in giving no weight to Petitioner’s undisputed assertion

that most of the claims challenged in the IPR would not be at issue in the district

court on account of the district court’s Order limiting the asserted claims (see

EX3001, p. 7; Paper 9 at 2). Cf. Apple Inc. v. Seven Networks, LLC, IPR2020-00156,

Paper 10 at 17 (PTAB Jun. 15, 2020) (that the IPR would address 11 claims not

addressed in the district court action favored the petitioner under Fintiv Factor 4).

      The Director should correct these errors and grant institution in view of (1)

the Sotera stipulation, (2) the fact that most challenged claims will not be litigated

in the district court action, and (3) the strong merits recognized in the Board’s

decision: Petitioner’s challenge is neither “marginal or close” but instead “is

straightforward and definitely meets the standard for institution, even when balanced

against Patent Owner’s counterarguments,” which “read like an opposition to an

anticipation challenge.” Decision at 10.

II.   LEGAL STANDARD

      This Decision presents the following grounds that justify Director Review:

“(a) an abuse of discretion [and] (b) important issues of law or policy.” USPTO,

Director Review Process, § 2.B (last updated Mar. 18, 2025). The Decision

constitutes an “abuse of discretion” for each of the following reasons: “An abuse of


Petitioner’s Request For Director Review                                        Page 2

                                      Appx089
            Case: 25-132     Document: 2     Page: 122     Filed: 06/16/2025

                                                                        IPR2024-01495
                                                                       Patent 8,578,285

discretion is found if [a] decision: (1) is clearly unreasonable, arbitrary, or fanciful;

(2) is based on an erroneous conclusion of law; (3) rests on clearly erroneous fact

finding; or (4) involves a record that contains no evidence on which the Board could

rationally base its decision.” Intelligent Bio-Sys., Inc. v. Illumina Cambridge Ltd.,

821 F.3d 1359, 1367 (Fed. Cir. 2016) (internal citation omitted).

III.   PROCEDURAL BACKGROUND

       On February 12, 2024, Cyandia (“Patent Owner”) sued SAP (“Petitioner”) in

the Eastern District of Texas for alleged infringement of four patents: U.S. 8,499,250

(“the ’250 patent”), 8,595,641 (“the ’641 patent”), 8,578,285 (“the ’285 patent”) and

8,751,948 (“the ’948 patent”).

       Roughly four months after receiving Patent Owner’s infringement

contentions, Petitioner filed its Petition asserting printed publications describing the

IBM WebSphere system.

       With its Preliminary Response raising Fintiv arguments, Patent Owner

submitted a declaration stating that “Petitioner served its invalidity contentions

under Eastern District of Texas Patent Local Rule 3-3 on July 10, 2024. Within the

invalidity contentions, Petitioner asserts the Websphere (sic) product and the six

IBM WebSphere references that are also asserted in” the IPR petition. EX2007, ¶ 3.

Patent Owner identified no specific evidence that Petitioner had relied upon in the

district court action to describe the WebSphere product.


Petitioner’s Request For Director Review                                         Page 3

                                       Appx090
            Case: 25-132     Document: 2     Page: 123     Filed: 06/16/2025

                                                                       IPR2024-01495
                                                                      Patent 8,578,285

      In response, Petitioner served and filed a Sotera stipulation, stating: “should

IPR be instituted … SAP will not pursue in the E.D. Tex. district court litigation any

ground of unpatentability that is raised or reasonably could have been raised in any

instituted IPR.” EX1045. At that time, under the governing June 21, 2022 “Interim

Procedure” memorandum, Sotera stipulations barred Fintiv denial.

      On February 28, 2025, the Office rescinded the “Interim Procedure”

memorandum and directed parties to follow Fintiv and Sotera: “Parties to post-grant

proceedings should refer to Patent Trial and Appeal Board (PTAB) precedent for

guidance, including Apple Inc. v. Fintiv, Inc., IPR2020-00019, Paper 11 (PTAB Mar.

20, 2020) (precedential) and Sotera Wireless, Inc. v. Masimo Corp., IPR2020-01019,

Paper 12 (PTAB Dec. 1, 2020) (precedential as to § II.A).”

      The Board then granted additional briefing addressing the impact of this

rescission on the Fintiv issues. The supplemental Fintiv briefs were filed on March

12, 2025. Papers 9, 10. On Factor 4, Petitioner explained that most of the challenged

claims will be dropped from the district court action per a district court Order. Paper

9 at 2. Patent Owner again identified no specific evidence Petitioner had relied upon

in the district court action to describe the WebSphere product.

      On March 24, 2025, the Office issued a Guidance memorandum stating that a

Sotera stipulation is “highly relevant, but will not be dispositive by itself.”




Petitioner’s Request For Director Review                                          Page 4

                                       Appx091
             Case: 25-132    Document: 2     Page: 124     Filed: 06/16/2025

                                                                       IPR2024-01495
                                                                      Patent 8,578,285

      On March 26, 2025, the Director issued a memorandum entitled “Interim

Processes for PTAB Workload Management” which by its terms does not apply to

this proceeding.

      On April 7, 2025, the Board panel found that despite Petitioner’s Sotera

stipulation, Factor 4 weighed in favor of discretionary denial, and it denied

institution primarily for that reason: “We find particularly significant that, if we were

to institute review and trigger Petitioner’s Sotera stipulation, Petitioner would

remain free to pursue a system-based invalidity challenged in the district court based

on essentially the same prior art relied upon here.” Decision at 11. The panel did not

cite the Office’s March 24, 2025, guidance that a Sotera stipulation is “highly

relevant.”

      On April 10, 2025, the Director denied as untimely Petitioner’s request to

submit as an exhibit Petitioner’s “Sotera plus” stipulation that it served on Patent

Owner shortly after the Decision. Accordingly, Petitioner has notified Patent Owner

that it has withdrawn that “Sotera” plus stipulation (but not its earlier Sotera

stipulation).

IV.   ARGUMENT

      A.        The Board’s Speculations Causing It To Dismiss
                The Sotera Stipulation Were An Abuse Of Discretion
      No evidence in the record supports the Board’s apparent assumption that

Petitioner would at trial in the district court action assert the same WebSphere

Petitioner’s Request For Director Review                                         Page 5

                                       Appx092
           Case: 25-132      Document: 2     Page: 125   Filed: 06/16/2025

                                                                      IPR2024-01495
                                                                     Patent 8,578,285

publications it asserts in its Petition here. Patent Owner instead cited evidence from

July 2024—seven months before Petitioner served its Sotera stipulation—that

Petitioner’s invalidity contentions cited the “Websphere (sic) product” along with

the six IBM WebSphere publications also cited in the IPR. EX2007, ¶ 3. But there

is no evidence that Petitioner currently intends to assert a WebSphere product at trial

or, if it did, use the same WebSphere publications at issue here. In other words, there

is no evidence of likely duplication of effort.

      Yet despite this evidentiary vacuum, the Board speculated that Petitioner

“may continue to press” the same publications in district court, and on that basis

found Factor 4 favored discretionary denial:

             Although Petitioner has filed a Sotera stipulation, we
             agree with Patent Owner that the stipulation has limited
             practical effect in reducing the overlapping efforts here
             and in the Litigation. Petitioner contends in the district
             court that the system described in the WebSphere
             materials renders at least some of the challenged claims
             invalid. Because Petitioner cannot challenge claims in this
             proceeding based on a public use or sale of the WebSphere
             system, Petitioner’s Sotera stipulation would not prevent
             Petitioner from asserting an invalidity defense in the
             district court based on the public use or sale of the
             WebSphere system. We understand that, in the Litigation,
             Petitioner has relied upon the WebSphere publications as


Petitioner’s Request For Director Review                                       Page 6

                                       Appx093
           Case: 25-132     Document: 2     Page: 126    Filed: 06/16/2025

                                                                     IPR2024-01495
                                                                    Patent 8,578,285

             prior art, presumably as evidence describing the
             WebSphere system that was publicly used and on sale.


             Regardless of any decision rendered in this proceeding on
             the patentability of the challenged claims based on the
             WebSphere printed publications, Petitioner may continue
             to press an invalidity defense based on the same evidence
             presented here.

Decision at 8–9 (emphasis added).

      That conclusion—that “Petitioner may continue to press an invalidity defense

based on the same evidence”—was central to the Board’s reasoning. But it lacked

any factual basis. It was pure speculation about what defenses Petitioner might assert

post stipulation and post claim and prior art narrowing, and what evidence it would

assert to advance those defenses, based on invalidity contentions served roughly nine

months earlier.

      In short, the Board’s dismissal of the Sotera stipulation—and its denial of

institution—rested on speculation, not evidence. That is an abuse of discretion and

warrants Director Review.

      B.     The Board’s Finding That Factor 4 Favors
             Discretionary Denial Was An Abuse of Discretion
      The Board found that Fintiv Factor 4 favors discretionary denial of

institution—despite the presence of a Sotera stipulation. That conclusion directly



Petitioner’s Request For Director Review                                       Page 7

                                      Appx094
           Case: 25-132        Document: 2   Page: 127   Filed: 06/16/2025

                                                                     IPR2024-01495
                                                                    Patent 8,578,285

contradicts the controlling Sotera decision, which holds that such a stipulation

strongly favors institution:

             Petitioner’s broad stipulation ensures that an inter partes
             review is a ‘true alternative’ to the district court
             proceeding. Id. Thus, we find that this factor weighs
             strongly in favor of not exercising discretion to deny
             institution under 35 U.S.C. § 314(a).

Sotera Wireless, Inc. v. Masimo Corp., IPR2020-01019, Paper 12 at 19 (PTAB Dec.

1, 2020); accord Apple, Inc. v. Haptic, Inc., IPR2024-01476, Paper 12 at 12 (PTAB

Apr. 4, 2025) (“Petitioner’s broad stipulation mitigates certain concerns of

duplicative efforts between the District Court and the Board, as well as concerns of

potentially conflicting decisions. Sotera, Paper 12 at 19. Thus, factor 4 weighs

strongly in favor of not exercising discretion to deny institution.”); Samsung

Electronics Co. v. Harbor Island Dynamic, LLC, IPR2024-01404, Paper 9 at 10

(PTAB April 4, 2025) (on account of Sotera stipulation, Factor 4 strongly favors not

discretionarily denying institution.)

      Sotera remains precedential. The Office’s February 28, 2025, Notice

rescinding the “Interim Procedure” memorandum cites only Fintiv and Sotera as

binding precedents governing discretionary denial. Likewise, the March 24, 2025,

Guidance memorandum affirms that a Sotera stipulation is “highly relevant.” With

the Sotera stipulation in place, it is certain that the same ground of unpatentability


Petitioner’s Request For Director Review                                       Page 8

                                        Appx095
           Case: 25-132     Document: 2     Page: 128    Filed: 06/16/2025

                                                                     IPR2024-01495
                                                                    Patent 8,578,285

will not be presented to the Board and the district court. Notably, the stipulation in

Sotera did not disclaim reliance on related product prior art—yet the Board in that

precedential decision still held it “strongly” favors institution. The panel’s

conclusion here cannot be reconciled with that binding precedent or the Office’s

recent express endorsements of it.

      The Director’s review decision in Motorola Sol.’s, Inc. v. Stellar, LLC,

IPR2024-01205 to -01208, Paper 19 at 4 (Mar. 28, 2025), is not to the contrary. First,

the Board did not cite this decision. Second, Petitioner did not have a realistic

opportunity to address that March 28th decision in time to affect the Board’s April 7

Decision. Third, Motorola did not rescind Sotera or the February 28 and March 14

Office guidance embracing Sotera. Fourth, Motorola noted that even when

corresponding system art was at issue in the district court action, the Sotera

stipulation still “mitigate[s] some concern of duplication.” Motorola at 4. In short,

Motorola merely found that a Sotera stipulation did not outweigh multiple other

Fintiv factors when they all favored denial. That is not the situation here. Unlike

Motorola, where Factors 1 and 3 each favored discretionary denial, here Factor 1 is

neutral and Factor 3 favors institution. Thus, Motorola cannot justify the panel’s

deviation from Sotera or the denial of institution based on Factor 4.




Petitioner’s Request For Director Review                                       Page 9

                                      Appx096
            Case: 25-132     Document: 2      Page: 129    Filed: 06/16/2025

                                                                         IPR2024-01495
                                                                        Patent 8,578,285

      C.     The Director Should Resolve The Panel Split On This Issue

      Simultaneous conflicting panel decisions on important issues affecting most

IPR petitions call for Director resolution. Resolving this panel split is needed for

clarity, consistency, and predictability in PTAB proceedings.

      On the same day as the panel’s Decision here, another panel—where the

petitioner had filed a Sotera stipulation and reserved the right to assert in the district

court the same prior art publications asserted in its IPR petition in combination with

non-publication prior art—found Sotera to “mitigate[] certain concerns of

duplicative efforts … as well as concerns of potentially conflicting decisions” and

found that Fintiv Factor 4 “strongly favors” not exercising discretionary denial. Dell,

Paper 12 at 8, 16 (nevertheless denying institution primarily because “the merits of

Petitioner’s challenge are not particularly strong”). Unlike the panel here, the Dell

panel expressly declined to speculate about the district court trial:

             Although we acknowledge Patent Owner’s concern about
             lack of overlap stemming from Petitioner’s reservation of
             rights in its Sotera stipulation, our evaluation at this
             juncture is based on the facts before us, not on how
             Petitioner might challenge the validity of the patent at trial.
             Further, Patent Owner does not identify any art asserted
             by Petitioner in the litigation that might fall within this
             reservation. On the present record, Petitioner’s broad
             stipulation mitigates certain concerns of duplicative


Petitioner’s Request For Director Review                                         Page 10

                                       Appx097
               Case: 25-132    Document: 2    Page: 130    Filed: 06/16/2025

                                                                        IPR2024-01495
                                                                       Patent 8,578,285

                efforts between the District Court and the Board, as well
                as concerns of potentially conflicting decisions. Sotera,
                Paper 12 at 19. Accordingly, factor 4 strongly favors not
                exercising discretionary denial.

Id.at 8.

       Here, similarly, Patent Owner identifies no WebSphere-related evidence that

Petitioner will try to assert at the district court trial notwithstanding its Sotera

stipulation.

       The Director should resolve this panel split in favor of the Dell decision (and

the above-cited April 4, 2025 Board decisions in Apple and Samsung). For several

reasons, the Office should not deny IPR institution based on speculation of what

might occur at a future district court trial where the petitioner has served a Sotera

stipulation. While avoiding two bites (unpatentability/invalidity) at the same apple

(same patent claim) in two different fora is a sound consideration, it is one the district

court is much better placed to enforce than is the Office. The district court need not

speculate about future submissions of the patent challenger. It has all the evidence

at hand. It is not constrained to speculate based on over-inclusive invalidity

contentions served early in the action long before claims were narrowed, prior art

was narrowed, and the Sotera stipulation was served. Moreover, only a small

fraction of district court cases reach trial—fewer than 1 in 20.




Petitioner’s Request For Director Review                                         Page 11

                                        Appx098
            Case: 25-132      Document: 2      Page: 131     Filed: 06/16/2025

                                                                         IPR2024-01495
                                                                        Patent 8,578,285

       In short, Sotera is not only binding precedent reaffirmed by the Office in its

February and March guidance—it is sound policy. Director intervention is warranted

to reaffirm that policy and correct the departure here.

       D.     That Most Challenged Claims Will Not Be Challenged In
              District Court Favors Not Discretionarily Denying Institution
       The Board’s disregard for the fact that most challenged claims are no longer

asserted in the district court action directly conflicts with PTAB guidance. Ignoring

this claim narrowing undermines the very purpose of IPR proceedings—established

by Congress to improve patent quality and restore confidence in the presumption of

validity that attaches to issued claims.

       Each claim of a patent is, in effect, its own legal right. A patent owner can

license or assert a single claim, and the validity of one claim generally stands

independently of its siblings. For these reasons a single invalid claim can continue

to chill innovation and impose costs on the public—even if other claims in the same

patent are struck down. That is why the public policy underlying IPR proceedings

applies with full force to every challenged claim, particularly those that will not be

litigated in district court even if that action reaches trial.

       Petitioner’s supplemental Fintiv brief explained this, noting that only a small

subset of the challenged claims remain in the district court case. Paper 9 at 2. That

distinction weighs against discretionary denial under Factor 4. The PTAB

recognized the same principle in Apple Inc. v. Seven Networks, LLC, IPR2020-00156,

Petitioner’s Request For Director Review                                         Page 12

                                         Appx099
               Case: 25-132   Document: 2    Page: 132     Filed: 06/16/2025

                                                                       IPR2024-01495
                                                                      Patent 8,578,285

Paper 10 at 17 (PTAB June 15, 2020), where the Board found that addressing 11

claims not being litigated in district court favored institution.

       Yet the panel here gave no weight to the fact that most of the Petition’s

challenged claims are now outside the scope of the district court action. Decision at

9–10. That was an error of law—and an abuse of discretion.

       E.       The Director Should Institute IPR Because
                Factor 3 Favors And Factors 4 And 6
                Strongly Favor Not Exercising Discretionary Denial
       Factors 3, 4, and 6 collectively weigh decisively against discretionary denial,

while Factor 1 is neutral. The Board correctly found Factor 3 favors not exercising

discretionary denial. As explained above, under Sotera, Factor 4 strongly favors not

exercising discretionary denial. Factor 6 also strongly favors not exercising

discretionary denial because the Board found the Petition’s merits to be strong:

“Petitioner’s challenge is straightforward and definitely satisfies the institution

standard, even when balanced against Patent Owner’s counterarguments,” which

“read like an opposition to an anticipation challenge.” Decision at 10. The Director

therefore should institute inter partes review. In the alternative, the Director should

remand to the Board with directions to correct the errors noted herein and reconsider

institution.




Petitioner’s Request For Director Review                                       Page 13

                                       Appx100
           Case: 25-132    Document: 2     Page: 133    Filed: 06/16/2025

                                                                    IPR2024-01495
                                                                   Patent 8,578,285

V.    CONCLUSION

      Given these clear errors and critical policy considerations, Director Review is

warranted. Petitioner respectfully requests that the Director institute inter partes

review.

                                    Respectfully submitted,

 Dated: April 17, 2025              By: /Roy Chamcharas/
                                         Roy Chamcharas (Reg. No. 61,735)
                                         roy.chamcharas@klarquist.com
                                         KLARQUIST SPARKMAN, LLP
                                         One World Trade Center, Suite 1600
                                         121 S.W. Salmon Street
                                         Portland, Oregon 97204
                                         Tel: 503-595-5300
                                         Fax: 503-595-5301

                                         Lead Counsel for Petitioner




Petitioner’s Request For Director Review                                    Page 14

                                     Appx101
           Case: 25-132   Document: 2     Page: 134   Filed: 06/16/2025

                                                                   IPR2024-01495
                                                                  Patent 8,578,285

                      CERTIFICATE OF SERVICE
                IN COMPLIANCE WITH 37 C.F.R. § 42.6(e)(4)

      The undersigned certifies that on April 17, 2025, Petitioner emailed copies

of PETITIONER’S REQUEST FOR DIRECTOR REVIEW to the following

email addresses, which Patent Owner has agreed constitutes service. See Paper

4 (Patent Owner’s Mandatory Notices).

            jhannah@kramerlevin.com
            jprice@kramerlevin.com
            kkastens@kramerlevin.com
            jfuller@kramerlevin.com
            ckeller@kramerlevin.com
            svdocketing@kramerlevin.com



                                     By: /Roy Chamcharas/
                                          Roy Chamcharas (Reg. No. 61,735)
                                          roy.chamcharas@klarquist.com
                                          KLARQUIST SPARKMAN, LLP
                                          One World Trade Center, Suite 1600
                                          121 S.W. Salmon Street
                                          Portland, Oregon 97204
                                          Tel: 503-595-5300
                                          Fax: 503-595-5301
                                         Counsel for Petitioner




Certificate Of Service                                                    Page 15

                                     Appx102
6/6/25, 3:29 PM                                                                                        IPR2024-01495 - Case Viewer
                                      Case: 25-132                          Document: 2                     Page: 135                Filed: 06/16/2025
      Patent Trial and Appeal Case Tracking System (P-TACTS)

       v       Case# [Cl IPR2024-01495                    INSTITUTION DENIED

       Patent # [Cl 8578285



                  Parties SAP America, Inc. et al. v. Cyandia, Inc.

                           Tech center 2100               Art unit 2175




      AIA review information                    Motions            Rehearing reguests                 Notices of am;1eal

                                                                                                                                                              Expand all I Collapse all

        v Documents & claims



                                 Documents                                                            Claims




              Papers
                                                                                                                             Updated: 06/06 3:27PM
                                                                                                                                                       ,..
                                                                                                                                                       ,._,       J;,   T




                                                                                                                                                                             -
                                                                                                                                                         Next available paper# 18




             (Au e ) Board 0
                      Paper# 1'          Filing date
                                                     Petitioner      @
                                                                   Paper type
                                                                              Patent Owner I Res12ondent

                                                                                        Document name
                                                                                                                    ®
                                                                                                                             Pages      Filing party          Availability
                                                                                                                                                                            T
                                                                                                                                                                                •
                                        10/01/2024                 Petition: as filed   SAP Petition (2851                   113        Petitioner            Public


                      2                 10/01/2024                 Notice: Power of     SAP POA (2851                        4          Petitioner            Public
                                                                   Attorney

                      3                 10/09/2024                 Notice: Notice       Notice: Notice filing date           6          Board                 Public
                                                                  filing date           accorded
                                                                  accorded

                      4                 10/11/2024                 Notice: Mandatory Patent Owner's Mandator)(       5                  Patent Owner          Public
                                                                   Notice            Notices Unger 37 C,F,R, 42,8(al
                                                                                        .G::l
                      5                 10/11/2024                 Notice: Power of     Patent Owner's Power of              4          Patent Owner          Public
                                                                   Attorney             Attorne)(

                      6                 01/09/2025                 POPR: filed          Patent Owner's Preliminar)(          46         Patent Owner          Public
                                                                                        Res11onse

                      7                 02/11/2025                Other: other          Petitioner's Reply to the Patent 15             Petitioner            Public
                                                                                        Owner PreliminarY. Res11onse

                      8                 02/25/2025                Other: other          Patent Owner's PreliminarY.          13         Patent Owner          Public
                                                                                        Sur-Re!!lY.

                      9                 03/12/2025                Other: other          Petitioner's Su1111lemental          4          Petitioner            Public
                                                                                        Briefing Regarding Fintiv

                      10                03/12/2025                Other: other          Patent Owner's S!.!!!!!lemental      5          Patent Owner          Public
                                                                                        Fintiv Brief

                      11                03/27/2025                 Notice: Updated      petjtjoner's Uodated                 5          Petitioner            Public
                                                                   Mandatory Notice     Mandatorv Notjces

                      12                03/28/2025                 Notice: Exhibit list Patent Owner's U11dated              4          Patent Owner          Public
                                                                                        Exhibit List

                      13                04/07/2025                 Institution          Institution Decision: Den)(          12         Board                 Public
                                                                   Decision: Deny

                      14                04/17/2025                 Request for          petjtjoner's Repuest for             18         Petitioner            Public
                                                                   Director Review-     Djrector Revjew
                                                                   Institution
                                                                   Decision

                                                                                                Appx103
https:/lptacts.uspto.gov/ptacts/ui/case-viewer/13086274/IPR2024-01495/aia-review-info                                                                                                     1/4
6/6/25, 3:29 PM                                                                                      IPR2024-01495 - Case Viewer
                                      Case: 25-132                          Document: 2                   Page: 136                   Filed: 06/16/2025
                      Paper# 1-            Filing date             Paper type             Document name                       Pages       Filing party    Availability



                      15                   04/24/2025             Other: other            Authorized Resgonse to              8           Patent Owner    Public
                                                                                          Director Review Reguest

                      16                   05/19/2025              Notice: Updated        Patent Owner's Ugdated              5           Patent Owner    Public
                                                                   Mandatory Notice       MandatorY. Notices

                      17                   05/29/2025             Order Denying           Order Denl(ing Director Review 3                Board           Public
                                                                   Director Review of of Institution Decision
                                                                   Institution
                                                                   Decision




              Exhibits


             (Au CD) 1000s @
                       Exhibit#
                                      ""
                                              Filing date
                                                         2000s    ® 3000s G)
                                                                           Document name                                  Pages          Filing party    Availability
                                                                                                                                                                        T
                                                                                                                                                                            •
                       3100                   04/17/2025                   EX. 3100                                                      Board           Public


                       3002                   04/10/2025                   Ex. 3002                                       4              Board           Public


                       3001                   04/07/2025                   fll...fil!Ql                                   9              Board           Public


                       2009                   03/28/2025                   Ex. 2009                                       13             Patent Owner    Public


                       2008                   02/25/2025                   Ex. 2008                                       3              Patent Owner    Public


                       2007                   01/09/2025                   Ex. 2007                                       3              Patent Owner    Public


                       2006                   01/09/2025                   Ex. 2006                                       6              Patent Owner    Public


                       2005                   01/09/2025                   Ex. 2005                                       9              Patent Owner    Public

                       2004                   01/09/2025                   Ex. 2004                                                      Patent Owner    Public

                       2003                   01/09/2025                   Ex. 2003                                       6              Patent Owner    Public


                       2002                   01/09/2025                   Ex. 2002                                       3              Patent Owner    Public


                       2001                   01/09/2025                   Ex. 2001                                       3              Patent Owner    Public


                       1046                   02/11/2025                   Plaintiff's Sugg Prelim Infringement           101            Petitioner      Public
                                                                           Contentions Claim Chart

                       1045                   02/11/2025                   Sotera Stioulation                                            Petitioner      Public


                       1044                   10/01/2024                   Affidavit of Nathaniel Frank-White,.           17             Petitioner      Public
                                                                           Records Reguest Processor {9.20.2024!

                       1043                   10/01/2024                   .Lil2.@rY. of Congress Catalog· Mastering                     Petitioner      Public
                                                                           IBM WebSphere portal {2004!

                       1042                   10/01/2024                   Cogy_right Office Public Catalog;                             Petitioner      Public
                                                                           Mastering IBM WebSghere Portal {2004!

                       1041                   10/01/2024                   U.S. Patent Agpl Pub. No. 2005/0159823         21             Petitioner      Public


                       1040                   10/01/2024                   Claims Listing                                 8              Petitioner      Public

                       1039                   10/01/2024                   Louch-U.S. Patent Aggi Pub. No.                34             Petitioner      Public
                                                                           2007/0130541

                       1038                   10/01/2024                   WSRP standard 2.0 sgecification                144            Petitioner      Public

                       1037                   10/01/2024                   WSRP standard 1.0 sgecification                86             Petitioner      Public


                       1036                   10/01/2024                   U.S. Patent No. 8.751.948                      48             Petitioner      Public


                       1035                   10/01/2024                   Mandalia-U.S. Patent Aggi Pub. No.             10             Petitioner      Public
                                                                           2007/0033251

                       1034                   10/01/2024                   Chowdary-U.S. Patent Aggi Pub. No.             14             Petitioner      Public
                                                                           2007/0283020

                                                                                                Appx104
https:/lptacts.uspto.gov/ptacts/ui/case-viewer/13086274/IPR2024-01495/aia-review-info                                                                                           2/4
6/6/25, 3:29 PM                                                                                       IPR2024-01495 - Case Viewer
                                      Case: 25-132                          Document: 2                    Page: 137                Filed: 06/16/2025
                       Exhibit#      ,I,     Filing date                   Document name                                   Pages       Filing party   Availability



                       1033                  10/01/2024                    Cogl(right Office Public Catalog: IBM                       Petitioner     Public
                                                                           WebSghere Ever:,mlace Access V5

                       1032                  10/01/2024                    Cogl(right Office Public Catalog: IBM                       Petitioner     Public
                                                                           WebSiihere EverY.iilace Access V5

                       1031                  10/01/2024                    Cogl(right Office Public Catalog: IBM                       Petitioner     Public
                                                                           WebSiihere Ever:,mlace Access V5

                       1030                  10/01/2024                    Librarl( of Congress Catalog: IBM                           Petitioner     Public
                                                                           WebSghere EverY.glace Access V5
                                                                           Handbook

                       1029                  10/01/2024                    Cogy_Iight Office Public Catalog: IBM                       Petitioner     Public
                                                                           WebSiihere Everl(glace Access V5

                       1028                  10/01/2024                    LibrarY. of Congress Catalog: IBM Rational                  Petitioner     Public
                                                                           Allglication Develoger V6 Portie!

                       1027                  10/01/2024                    Cogy_Iight Office Public Catalog: IBM                       Petitioner     Public
                                                                           Rational Agiilication Develoiier V6

                       1026                  10/01/2024                    WebS1Jhere Agglication Server V6 -              573         Petitioner     Public
                                                                           Sl(stem Management and Configuration
                                                                           JP..!ll.
                       1026                  10/01/2024                    ~~gpljcatjon Server V6 •                        464         Petitioner     Public
                                                                           .§Y.stem Management and Confjgyratjon
                                                                           1P.m
                       1025                  10/01/2024                    Affidavit of Nathaniel Frank-White,.            97          Petitioner     Public
                                                                           Records Reguest Processor (8.16.2024)

                       1024                  10/01/2024                    Austin-Lane-U.S. Patent Alllll Pub. No.         21          Petitioner     Public
                                                                           2004/0044736

                       1023                  10/01/2024                    Newton 2004-Newton's Telecom                    13          Petitioner     Public
                                                                           Dictionary (20th ed. 2004) (excerll!fil

                       1022                  10/01/2024                    £Qgue 2007-Mac OS X Leoiiard The                10          Petitioner     Public
                                                                           Missing Manual (excerll!fil

                       1021                  10/01/2024                    fQgue 2007 (iPhone)-iPhone The Missing_ 7                   Petitioner     Public
                                                                           Manual (excerll!fil

                       1020                  10/01/2024                    Russo-U.S. Patent Aggi Pub. No.                 18          Petitioner     Public
                                                                           2007/0174782

                       1019                  10/01/2024                    Microsoft Internet Exiilorer ResourceKit,.      496         Petitioner     Public
                                                                           Microsoft (1998) (otll

                       1019                  10/01/2024                    Microsoft Internet Exiilorer ResourceKit,.      410         Petitioner     Public
                                                                           Microsoft (1998) (ot 21

                       1018                  10/01/2024                    Cok-U.S. Patent No. 5,~     ,692                7           Petitioner     Public


                       1017                  10/01/2024                    Microsoft Comguter Dictionary_(~)_              17          Petitioner     Public
                                                                           (excerll!fil

                       1016                  10/01/2024                    Jones-U.S. Patent Alllll Pub. No.               20          Petitioner     Public
                                                                           2008/0256643

                       1015                  10/01/2024                    Santoro-U.S. Patent No. 7,376,907               44          Petitioner     Public


                       1014                  10/01/2024                    U.S. Provisional Alllllication No.              59          Petitioner     Public
                                                                           61/052,765

                       1013                  10/01/2024                    IBM WebSghere Porta! V5: A Guide for            573         Petitioner     Public
                                                                           Portlet Agglication Deve!ogment

                       1012                  10/01/2024                    IBM WebSohere EyerY.o!ace Access                1321        Petitioner     Public
                                                                           Versjon 4.3 t:Jandbools for [;!eye!ogers

                       1011                  10/01/2024                    IBM WebSiihere Portal Collaboration             323         Petitioner     Public
                                                                           SecuritY. Handbook (December 2004)_

                       1010                  10/01/2024                    IBM Workglace Web Content Management 369                    Petitioner     Public
                                                                           for Portal 5.1 an!;! IBM Workglace (P.!!)_

                       1010                  10/01/2024                    J..B.M...WQ!:lso!ace Web Content Management 294             Petitioner     Public
                                                                           for eorta! 5.] and IBM Worlsp!ace (gt2)_

                       1009                  10/01/2024                    WebSiihere-Ever:,mlace-4-IBM                    408         Petitioner     Public
                                                                           WebSiihere EverY.iilace Access V5
                                                                           Handbook

                       1008                  10/01/2024                    WebSiihere-EverY.iilace-3-IBM                   331         Petitioner     Public
                                                                           WebSiihere EverY.iilace Access V5

                                                                                              Appx105
                                                                           Handbook
https:/lptacts.uspto.gov/ptacts/ui/case-viewer/13086274/IPR2024-01495/aia-review-info                                                                                3/4
6/6/25, 3:29 PM                                                                                        IPR2024-01495 - Case Viewer
                                      Case: 25-132                          Document: 2                     Page: 138                Filed: 06/16/2025
                       Exhibit#      ,I,     Filing date                   Document name                                    Pages       Filing party   Availability



                       1007                  10/01/2024                    WebSP.here-Everimlace-2-IBM                      471         Petitioner     Public
                                                                           WebSP.here Ever:,mlace Access V5
                                                                           Handbook

                       1006                  10/01/2024                    WebSP.here-EverY.P.lace-1-lBM WebSP.here 457                 Petitioner     Public
                                                                           Everimlace Access V5 Handbook

                       1005                  10/01/2024                    Ben-Natan-Mastering IBM WebSP.here               154         Petitioner     Public
                                                                           Portal (otll

                       1005                  10/01/2024                    Ben-Natan-Masterin,;: IBM WebSP.here             143         Petitioner     Public
                                                                           Portal (ot_g)_

                       1005                  10/01/2024                    Ben-Natan-Mastering IBM WebSP.here               135         Petitioner     Public
                                                                           Portal (ot_fil

                       1005                  10/01/2024                    Ben-Natan-Mastering IBM WebSP.here               117         Petitioner     Public
                                                                           Portal (ot~

                       1004                  10/01/2024                    WebSP.here-Portal-lBM Rational                   658         Petitioner     Public
                                                                           AP.P.lication DeveloP.er V6 Portlet (oUl

                       1004                  10/01/2024                    WebSphere-Portal-lBM Rational                    387         Petitioner     Public
                                                                           AP.P.lication DeveloP.er V6 Portlet (ot.21

                       1003                  10/01/2024                    Declaratjon of Chrjstopher Schmandt              158         Petitioner     Public


                       1002                  10/01/2024                    fik.tli.filQrY. of U.S. patent No. 8,.51§.~      393         Petitioner     Public


                       1001                  10/01/2024                    285 Patent-U.S. Patent No. 8,578,285             20          Petitioner     Public




        > Realparty

        > Counsel

        > Payments




                                                                                                Appx106
https:/lptacts.uspto.gov/ptacts/ui/case-viewer/13086274/IPR2024-01495/aia-review-info                                                                                 4/4
